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               Exhibit 31
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 1

 2                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
 3

 4                                            )
        JANSSEN BIOTECH, INC.,                )
 5      and NEW YORK UNIVERSITY,              )
                                              )
 6                Plaintiffs,                 )
                                              )       Civil Action
 7      v.                                    )       No. 17-11008-MLW
                                              )
 8      CELLTRION HEALTHCARE CO.,             )
        LTD, CELLTRION, INC., and             )
 9      HOSPIRA, INC.,                        )
                                              )
10                Defendants.                 )
                                              )
11

12

13                       BEFORE THE HONORABLE MARK L. WOLF
                           UNITED STATES DISTRICT JUDGE
14

15                          TRANSCRIPT OF MOTION HEARING

16
                                              FEBRUARY 16, 2018
17

18
                     John J. Moakley United States Courthouse
19                               Courtroom No. 10
                                One Courthouse Way
20                         Boston, Massachusetts 02210

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22
                           DEBRA M. JOYCE, RMR, CRR, FCRR
23                             Official Court Reporter
                           John J. Moakley U.S. Courthouse
24                           1 Courthouse Way, Room 5204
                                  Boston, MA 02210
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         1                               P R O C E E D I N G S

         2                (The following proceedings were held in open court

         3      before the Honorable Mark W. Wolf, United States District

         4      Judge, United States District Court, District of Massachusetts,

         5      at the John J. Moakley United States Courthouse, 1 Courthouse

         6      Way, Boston, Massachusetts, on February 16, 2018.)

         7                THE CLERK:     This is civil action 17-11088, Janssen v.

         8      Celltrion.

         9                You may be seated.

10:16   10                THE COURT:     Good morning.

        11                Would counsel please identify themselves for the Court

        12      and for the record.

        13                MR. DISKANT:    Good morning, your Honor.       Gregory

        14      Diskant for the plaintiff.

        15                MR. JACKSON:    Good morning, your Honor.       Benjamin

        16      Jackson for the plaintiff.

        17                MR. QUIRK:     Good morning, your Honor.     Robert Quirk

        18      for the plaintiff.

        19                MS. CASEY:     Good morning, your Honor.     Alison Casey

10:17   20      for the plaintiff.

        21                MR. HALES:     Good morning, your Honor.     Bryan Hales for

        22      defendants.

        23                MS. CUTRI:     Good morning, your Honor.     Elizabeth Cutri

        24      on behalf of defendants.

        25                MR. KLEIN:     Good morning, your Honor.     Charles Klein
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         1      for the defendants.

         2                  MR. KELLY:     Your Honor, Dennis Kelly for the

         3      defendants.

         4                  MS. MARTIN:    Good morning, your Honor.     Andrea Martin

         5      for the defendants.

         6                  MR. HAUG:     Good morning, your Honor.    Ed Haug for

         7      third party Biogen.

         8                  MR. BARLOW:    Good morning, Judge.    Joshua Barlow also

         9      for Biogen

10:17   10                  MS. KUZMICH:     Good morning, your Honor.    Sandra

        11      Kuzmich also on behalf of Biogen.

        12                  MS. SHMUEL:    Good morning.   Jenny Shmuel on behalf of

        13      third party Samsung Bioepis.

        14                  MR. ADKISSON:     Good morning, your Honor.    John

        15      Adkisson on behalf of third party Samsung Bioepis.

        16                  MR. GAGALA:     Good morning, your Honor.    Bruce Gagala

        17      on behalf of third party Samsung Bioepis.

        18                  THE COURT:     Okay.

        19                  Yesterday, I issued a scheduling order memorializing

10:18   20      the dates stated in court on February 2, 2018.          I now realize

        21      that does not include a date for the parties to confer and

        22      report regarding settlement before the motions for summary

        23      judgment.

        24                  I'm now ordering that that be done by May 2, 2018 in

        25      view of the May 4th date for summary judgment.
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         1                 I recognize that, depending on the result of the

         2      motion to dismiss the Section 271(f)(1) counterclaim, or if I

         3      deny that, it may affect discovery, at least in the deadlines

         4      for discovery at least from the defendants' perspective, and

         5      all of these dates could be changed, but I wanted to note at

         6      the outset that I'm ordering that the parties continue to

         7      confer and see whether this complexing consequential case can

         8      be resolved by agreement.

         9                 As indicated by my order concerning today's hearing, I

10:19   10      want to start by hearing the plaintiffs' -- I'm sorry -- the

        11      defendants' motion to compel Janssen and Biogen to produce

        12      documents, and Biogen or at least Samsung to produce a

        13      deponent, and then I want to move to defendants' motion to

        14      strike or dismiss plaintiffs' Section 271(f)(1) counterclaim.

        15                 I'm not going to hear argument on Hospira's motion for

        16      summary judgment today, since I'm not close to prepared to

        17      decide that orally.

        18                 But is there anything else that the parties think

        19      should be on the agenda for today?

10:20   20                 MR. DISKANT:    No, your Honor.

        21                 MR. HALES:     Your Honor, we had the last time we were

        22      in, we raised or were about to raise a couple of discovery

        23      issues related to damages that we thought we had worked out at

        24      that time.    It sounds like since we left the courtroom that's

        25      changed.     We're not hearing from them that we're going to get
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         1      the things we thought we were going to get from them.             So now

         2      this becomes a sensitive issue.       I think we should talk about

         3      it, at least get you up to speed on that, maybe get a ruling on

         4      that.

         5                THE COURT:    All right.    We'll take that up after the

         6      271(f) motion, okay?

         7                MR. HALES:    Thank you.

         8                THE COURT:    With regard to the motion to compel on the

         9      271(f)(1) motion, it is my goal to hear the argument and decide

10:21   10      the motion to compel this morning.       Ideally I'd like to hear

        11      the argument on the 271(f)(1) motion this morning, too, and

        12      decide it later today.      But, in any event, it's my goal to

        13      decide both of those motions before you leave today.

        14                With regard to Celltrion's motions to compel, I'm sure

        15      you have large decks of slides to show me, I -- I'll hear first

        16      from Celltrion, but I don't know that I need lengthy argument.

        17      I've studied the papers closely.       I expressed a tentative view

        18      on February 2nd, Biogen and Samsung weren't here, but I did

        19      express a tentative view that I would deny the motion to compel

10:22   20      but might allow a deposition, essentially a Biogen -- I think

        21      it's Mr. Reusch, if I'm pronouncing it right, R-e-u-s-c-h,

        22      who's provided a declaration to determine -- challenge the

        23      credibility of the contention that the Biogen medium was not on

        24      the market during the relevant period, to clarify whether it

        25      was licensed, perhaps to permit some questioning concerning how
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         1      many scientists spent how much time and how much money to

         2      develop the Biogen media.      But I'm not inclined to permit

         3      discovery of the formula or the ingredients.

         4                One thing I would note that contributes to my

         5      tentative view, which is stronger than it was on February 2nd

         6      but still tentative, is the impact of the existing protective

         7      order.   It's ardently argued by Celltrion that the protective

         8      order assures that there won't be any breach of the

         9      confidentiality of the Biogen media.        But, as I discussed with

10:24   10      the parties on February 2, 2017, it is defendants' counsel,

        11      Mr. Hurst, that acknowledges the protective order only covers

        12      pretrial proceedings.     I was actually surprised when I looked

        13      at it again, that I hadn't written that in, but it does in

        14      paragraph 15 gives me the authority, which I would have

        15      inherently anyway, to modify the protective order.          As I said

        16      on February 7, 2017, the order governs only until trial.          The

        17      jurisprudence is that discovery materials are presumptively

        18      confidential, but documents used in court are presumptively

        19      public, and I expect that if there's anything that's discussed

10:25   20      in testimony or any exhibits that come in, I'll have to be very

        21      surgical in limiting what's kept confidential.         So this isn't

        22      the time to try to do that surgery, but that's part of my

        23      present thinking.

        24                With regard to the proposition that documents or

        25      information discussed during the trial or entered into evidence
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         1   are presumptively public, where discovery materials are

         2   presumptively not public, are Poliquin, 989 F.2d 527, 533, and

         3   Anderson v. Cryovac, 805 F.2d 1, 11-12, both 1st Circuit cases.

         4   But I don't think the jurisprudence is different than any other

         5   circuit, particularly the Federal Circuit, to my knowledge.

         6             So, anyway, I wanted to share that with you so you

         7   have it in mind as you make your argument.

         8             But, Mr. Hales, are you going to address this issue?

         9             MR. HALES:    Your Honor, Mr. Klein is going to handle

10:26   10   the motion to compel issues.

        11             On that protective order issue, I would just add one

        12   comment, which is that the fact that there are things to deal

        13   with at trial in relation to how the protective order will

        14   govern doesn't seem like a reason to not allow discovery.

        15             THE COURT:    It does because -- well, there are other

        16   reasons in my present conception, too, but if -- presumably you

        17   want to discover it so you can use it at trial.         If it's not

        18   potential evidence, I don't know why you would need it.

        19             Is Mr. Klein going to address this?

10:27   20             MR. HALES:    He is.

        21             THE COURT:    Then he'll address it.     Go ahead.

        22             MR. KLEIN:    Thank you, your Honor.     I do have a

        23   presentation, it's not long, but if you prefer --

        24             THE COURT:    No, no, let me have it.

        25             How long do you think it will take to go through it?
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         1               Somebody was probably up late last night polishing it

         2   up, so it shouldn't go to waste.

         3               MR. KLEIN:   It's not lengthy.

         4               THE COURT:   We'll make this -- it is nice and short.

         5               MR. KLEIN:   I told you.

         6               THE COURT:   Very good for your credibility.

         7               We'll make this Exhibit 1 of today's date.

         8               (Exhibit 1 marked for identification.)

         9               THE COURT:   All right.    You may proceed.

10:28   10               MR. KLEIN:   Thank you, your Honor.

        11               I think it is important to emphasize that this is just

        12   a discovery dispute, and we're governed by Rule 26.         You

        13   mentioned in your comments that -- I think you mentioned there

        14   is a dispute as to whether the Biogen media itself was publicly

        15   available, and the issue of discovery and relevance in this

        16   case is broader than that.

        17               THE COURT:   I'll -- I'll help you.    I do think it's

        18   relevant.    I think that Biogen has a legitimate interest in the

        19   confidentiality of it, if it is indeed confidential, and

10:29   20   therefore, I have to do a balancing.       How much do you need it

        21   or what part of it is relevant, what's it relevant for, and how

        22   important is their interest in confidentiality?

        23               MR. KLEIN:   Got it.   And the balancing is important,

        24   and Rule 26, which is the governing standard, talks about the

        25   balancing.
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         1              Obviously, Rule 26 is a liberal discovery standard,

         2   and we're entitled to discovery if it's relevant to a party's

         3   claim or defense and proportional to the needs of the case.       So

         4   I think the confidentiality issue falls within the

         5   proportionality bucket.

         6              THE COURT:   My concern isn't about proportionality,

         7   but there's another provision of Rule 26, you have it on your

         8   slide, that talks about entering protective orders in

         9   appropriate instances.

10:30   10              MR. KLEIN:   Yes.   I don't have that on the slide, but

        11   it's certainly in Rule 26, and there's language in Rule 45.

        12              But I do think it's important to emphasize how we

        13   believe the information we're seeking is relevant --

        14              THE COURT:   Go ahead.

        15              MR. KLEIN:   -- because that ties into the

        16   proportionality and balancing your Honor talked about.

        17              As Rule 26 makes clear, our burden today is not to

        18   convince you that the information we're seeking will in fact be

        19   admissible at trial.     That's not our burden.     That's what Rule

10:30   20   26 says.   It just has to be relevant to a claim or defense and

        21   proportional to the needs of the case.

        22              Putting aside confidentiality for the moment, the

        23   proportionality standard, we submit, is a very low bar in this

        24   case.

        25              THE COURT:   I don't see this -- proportionality goes
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         1   if you were looking for, you know, another 50,000 documents and

         2   there was only $50,000 at stake.       I don't see this as an issue

         3   of proportionality.

         4               MR. KLEIN:   Right.   And the information we seek is

         5   discrete.    So I just wanted to make that clear.       We're not

         6   looking for a ton of documents, and the deposition.

         7               So the key issue is relevance, and then, of course,

         8   confidentiality.    So those are the two issues I wanted to focus

         9   on.

10:31   10               As for relevancy, I think your Honor understands why

        11   the general concept that we think it's relevant to the damages

        12   question of whether starting on the date of first infringement

        13   Celltrion could have switched to using a noninfringing

        14   alternative.    That's what I pointed to.

        15               THE COURT:   I do, and that's consistent with the

        16   guidance I gave you on damages about a year ago.         This isn't

        17   perhaps directly material to this motion, but -- let me see if

        18   I understand the implications of this right, not just the

        19   general law but how it would operate in this case.

10:32   20               So if Janssen proves that Celltrion is responsible for

        21   using media that infringes the '083 patent, then the issue is

        22   damages.    If there was an available noninfringing alternative

        23   that Celltrion could have used at the time of first

        24   infringement is the general rule, damages would be limited to a

        25   reasonable royalty, correct?
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         1              MR. KLEIN:   That is correct, yes.

         2              THE COURT:   But if there's no available noninfringing

         3   alternative, then at some point, Janssen would be entitled to

         4   lost profits that it could prove.       That's the corollary?

         5              MR. KLEIN:   They would still need to prove lost

         6   profits.

         7              THE COURT:   Right.     They'd have to prove lost profits.

         8   If they could prove lost profits, lost profits would be the

         9   measure, not a reasonable royalty, right?

10:33   10              MR. KLEIN:   It could be the measure, yes, your Honor.

        11              THE COURT:   I think that's what I ruled.

        12              MR. KLEIN:   And this is from your ruling.

        13              THE COURT:   As a practical matter in this case, there

        14   could be no lost profits, as I conceive it now -- but if this

        15   is wrong, correct me -- until January 2017 when Celltrion

        16   started selling its allegedly -- well, its biosimilar product,

        17   right?

        18              MR. KLEIN:   Correct.    That's when it was launched by

        19   us.

10:34   20              THE COURT:   So the date of first infringement might

        21   have been before, for example, when Celltrion was using the

        22   HyClone media to develop samples that would get FDA approval,

        23   but the reasonable royalty -- the issue of whether there's a

        24   reasonable royalty or lost profits is the measure of damages

        25   for any proven infringement doesn't become a meaningful issue
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         1   until they start selling -- you start selling in about January

         2   of 2017.

         3              MR. KLEIN:   Yes.    The lost profits would not -- any

         4   lost profits would not accrue until the product was marketed.

         5              THE COURT:   Okay.   Thank you.

         6              MR. KLEIN:   And this is exactly what I was getting at.

         7   I'm not going to spend a lot of time, but I do think it's

         8   important to understand the context and why we think the

         9   information was relevant from the legal perspective.

10:35   10              In terms of lost profits, Janssen has the burden of

        11   proving that Celltrion had to use an infringing media, right.

        12   So it has -- there's a but-for test there, and one way that

        13   test fails is if there's a noninfringing alternative on the

        14   market.

        15              THE COURT:   On the market.

        16              MR. KLEIN:   I'm sorry, I misspoke.     If there's a

        17   noninfringing alternative.      It doesn't have to be on the market

        18   at the time.

        19              THE COURT:   No, it has to be available.

10:35   20              MR. KLEIN:   It has to be available, yes.

        21              THE COURT:   If it's not on the market in the sense if

        22   you couldn't go and buy it from Biogen or license it, then, as

        23   I understand it, refreshed by what I decided last year, you

        24   have to prove that you could have quickly developed your own

        25   noninfringing alternative.
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         1             MR. KLEIN:    I think you're referring to the Grain

         2   Processing case.

         3             THE COURT:    Yes.     Grain Processing was two weeks.

         4             MR. KLEIN:    I'm not sure that was required, in Grain

         5   Processing it was two or three weeks.       The issue is clearly

         6   whether Celltrion had an noninfringing alternative --

         7             THE COURT:    Go ahead, finish.

         8             MR. KLEIN:    -- available or could have --

         9             THE COURT:    At the time of first infringement.

10:36   10             MR. KLEIN:    Right.    Which, for purposes of this

        11   analysis we're assuming, I think the parties are all assuming,

        12   is October 2009 when the patent issued.

        13             THE COURT:    That's -- all right.     But this may get a

        14   little bit at some trial issues.       That's when HyClone might

        15   have first infringed.     I don't know if Celltrion was involved

        16   with HyClone back in 2009.       I suppose you do.

        17             MR. KLEIN:    They were.

        18             THE COURT:    They were.    Okay, so that helps me.

        19             MR. KLEIN:    Celltrion was developing the media before

10:36   20   then.

        21             THE COURT:    Go ahead.

        22             MR. KLEIN:    In terms of noninfringing alternatives, I

        23   don't think there's any dispute in this case you go back to

        24   2009, there were other media alternatives available to

        25   Celltrion.   So Janssen isn't saying its '083 patent covers all
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         1   media options that were available to Celltrion back in 2009.

         2   They've never said that.     So there were alternatives available.

         3   The question is, well, could Celltrion have used at least one

         4   of these alternative mediums to produce an infliximab

         5   biosimilar?   That's going to be a question in the case.          And if

         6   the answer to that is yes, then there's no lost profits.

         7             But I also want to emphasize that if the answer to

         8   that question is yes, it also slashes the reasonable royalty as

         9   well.   So this question is relevant not just to lost profits

10:37   10   but also to a reasonable royalty.       Because in the reasonable

        11   royalty context you have this hypothetical negotiation, and if

        12   Celltrion had an option, sure, it might pay something to avoid

        13   the inconvenience of switching, but at some point, the royalty

        14   would go up to a level where Celltrion would have said, I'm

        15   just going to use the alternative instead, sorry.         And the

        16   courts have talked about that.

        17             So the issues are -- the information we seek is

        18   relevant to damages generally, but specifically to key

        19   questions related to reasonable royalty and lost profits, and

10:38   20   this is literally -- it could be a billion-dollar question.

        21   So, again, for proportionality, this is a big deal.

        22             THE COURT:    It's not a question of proportionality, in

        23   my view, but go ahead.

        24             MR. KLEIN:    So, again, there were media available to

        25   Celltrion back in 2009 other than the HyClone media that it
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         1   used, and we now know, because Janssen has conceded, that

         2   Biogen was able to develop a media that admittedly does not

         3   infringe the '083 patent and successfully makes infliximab.

         4             The so the question -- the way we view this motion,

         5   your Honor, the question is really is Biogen's development of a

         6   noninfringing alternative relevant to whether Celltrion could

         7   have developed its own noninfringing --

         8             THE COURT:    My present conception is that is not the

         9   right way to frame the question, because that question is

10:39   10   already answered.    It was possible for somebody to develop a

        11   noninfringing alternative to the '083 media that would produce

        12   a biosimilar to Remicade.      That you know -- that we know, or

        13   there's evidence of that.

        14             So the question -- but the relevant question is:

        15   Could Celltrion have done it?      And, you know, you've already

        16   said there were a lot of medium, media out there.         To me, I

        17   don't at the moment see why you need to know or it would be

        18   fair for you to know how Biogen did it, except maybe to know

        19   did it take them two weeks and two people to do it, or, as the

10:40   20   affidavit suggests, it was a long, expensive process.

        21             MR. KLEIN:    I think this will help.     I'd like to give

        22   you three hypotheticals as to why the information we seek is

        23   relevant to these damages issues.

        24             The first one -- and we think this is --

        25             THE COURT:    I'm sorry, go ahead.
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         1              MR. KLEIN:   And obviously, we don't know the contents

         2   of their media, we don't know the details of their drug

         3   development, and that's why we're seeking discovery; that's the

         4   purpose of discovery.     But here are three hypotheticals to help

         5   illustrate why the information we seek is relevant.

         6              And the first one -- and we think this is probably a

         7   likely scenario -- is that even if you assume that Biogen's

         8   media is proprietary and they never sold it -- and I think at a

         9   minimum we should be able to take some discovery on that

10:41   10   issue --

        11              THE COURT:   I told you it's still my inclination to

        12   let you take a deposition to challenge the credibility that

        13   they never sold it.     And, as I read it, the affidavit of

        14   Mr. Reusch, if I'm saying it right, remembering it right, is

        15   not explicit on whether they ever licensed it to somebody they

        16   weren't collaborating with themselves.

        17              Go ahead.

        18              MR. KLEIN:   For purposes of these hypotheticals, we'll

        19   assume the media is proprietary and they've never sold it.

10:41   20   Even if that were true, they may have started with a publicly

        21   available media and optimized.      And that's typically what's

        22   done in media development.      And we don't know that, but we'd

        23   like to take discovery on whether Biogen started with a media

        24   that was available to Celltrion back in 2009 and then optimized

        25   it, because then our experts could say Celltrion could have
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         1   started with the same media, done its own optimization, arrived

         2   at a media that successfully works, infliximab.

         3             THE COURT:    To me that's analogous to a leading

         4   question that would be impermissible in Court.         If it's easy

         5   and obvious to take one of the many media out there and

         6   optimize it, Dr. Glacken or somebody else should be able to

         7   say, without knowing what Biogen did, here's what I would have

         8   done and it would have worked.

         9             MR. KLEIN:    He could say that, but it certainly is

10:42   10   helpful and would be helpful to this important question if

        11   another company had started with the same media and

        12   successfully developed an infliximab biosimilar.

        13             THE COURT:    At the moment -- if there are -- you just

        14   said there were many media out there.       If Biogen, either

        15   through trial and error or good luck, you know, picked quickly

        16   the one -- found the one that worked, you know, it doesn't mean

        17   that -- to me it's not very probative of whether Celltrion on

        18   its own would have come up with the same thing.         It's feasible,

        19   but at the moment, particularly if in view of their interest in

10:43   20   confidentiality, I really would wonder how important the

        21   details of the formula, the ingredients of the formula are.

        22             But keep going.

        23             MR. KLEIN:    Your Honor, I do think this would be very

        24   important to our experts.      And in terms of the standard, I

        25   don't believe the standard is that in the but-for world you
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         1   have to show which media Celltrion would have chosen among

         2   other media.    The question is:    Was there an alternative

         3   available?     And if Biogen used a publicly available media and

         4   optimized it, that would go a long way for us to show that

         5   Celltrion could have started with that same media and optimized

         6   it, because it was successful for Biogen.

         7               THE COURT:   Is the answer whether you could have or

         8   whether you would have?     I mean --

         9               MR. KLEIN:   It's could.

10:44   10               THE COURT:   I mean, if there are a thousand media out

        11   there, hypothetically, you know, maybe you could have started

        12   with the one that Biogen started with, but maybe you won't be

        13   able -- you know, the jury wouldn't find that you would have,

        14   at least quickly or feasibly because you would have had to test

        15   all thousand of them.

        16               MR. KLEIN:   And maybe that's true, your Honor.       But

        17   this is going to admissibility.        This is going to what would

        18   happen at trial, and that's why I started my argument

        19   emphasizing we're in the discovery phase and admissibility is

10:45   20   not an issue.     And maybe there's an argument down the road as

        21   to, you know, whether this would be an appropriate substitute.

        22   But that's not the issue today.        The question is:   Is it

        23   relevant?    And it's clearly relevant --

        24               THE COURT:   It's relevant.    The question is the

        25   balancing.     I mean, does Biogen have a legitimate interest in
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         1   the confidentiality of its formula?

         2             MR. KLEIN:    It does, and I'll get to that in a moment.

         3             Again, this is part of the balancing, and that's what

         4   Rule 26 talks about, and Rule 45.       It's critical, your Honor,

         5   because Biogen got FDA approval.       If Biogen started with a

         6   publicly available media, optimized it, we know it got FDA

         7   approval, and it's admittedly noninfringing.        This would be

         8   powerful evidence for the jury to consider in conjunction with

         9   an opinion by our expert that Celltrion could have started with

10:46   10   the same media, done routine optimization.        Again, when you

        11   consider the fact that this literally could be a billion-dollar

        12   question, that hypothetical alone should entitle us to take the

        13   discovery.

        14             As for a second hypothetical, your Honor, in terms of

        15   the formula, again, we don't know what the formula is, but this

        16   is why discovery is needed.      We don't know why Janssen decided

        17   that Biogen's media doesn't infringe.       It could turn out that

        18   Biogen's media is missing one or two of the ingredients that's

        19   required by the '083 patent.      If that's the case, that would be

10:46   20   powerful evidence for our experts to say and offer an opinion

        21   that the HyClone media Celltrion used could have been tweaked,

        22   they could have just taken out an ingredient or two, maybe

        23   swapped in something else that isn't required by the patent,

        24   and avoided infringement.      And the only way we'll know that is

        25   by seeing the formula.
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         1             Again, even putting aside whether Biogen's media

         2   itself was publicly available, the fact that Janssen has now

         3   conceded that Biogen's media doesn't infringe could be highly

         4   relevant to whether the HyClone formula itself could have been

         5   modified with very minor tweaks to avoid infringement.

         6             And a third hypothetical is even if the Biogen media

         7   is completely confidential and wasn't sold, the ultimate

         8   formula may be pretty close to a formula that was publicly

         9   available.   Again, we can't assess this without looking at the

10:47   10   formula and comparing it to what was publicly available at the

        11   time.

        12             And if there's a similarity between what FDA approved

        13   for an infliximab biosimilar and what was available at the

        14   market, that, too, would be highly relevant to our expert's

        15   opinions with regard to noninfringing alternatives.

        16             THE COURT:    Okay.

        17             MR. KLEIN:    So that's -- those are non-exhaustive

        18   relevancy hypotheticals.

        19             I want to just briefly touch on confidentiality, and I

10:48   20   certainly understand they have confidentiality concerns, but

        21   two quick points.    The first one is, those concerns didn't stop

        22   Samsung Bioepis from agreeing to a protective order in New

        23   Jersey and filing its formula under seal in the New Jersey

        24   court, and the terms of our protective order are

        25   insubstantially different.      They're essentially the same thing.
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         1              And the second point is Biogen is not the first third

         2   party or would not be the first third party in this case to

         3   produce a media formula under the terms of the protective

         4   order.    HyClone did that.    HyClone's already done that.

         5   HyClone's made many witnesses available for deposition under

         6   the terms of the protective order.       And the parties have been

         7   working with HyClone in conjunction with the hearing to make

         8   sure that its information is protected.

         9              And it's -- no matter what happens, I think it's

10:49   10   highly unlikely that an entire formula at a trial in this case

        11   would have to be disclosed or publicly disseminated.          Steps can

        12   be taken to ensure only information necessary to go to the jury

        13   or your Honor is publicly disclosed, and that's what we've done

        14   so far.   And there's been no assertion in this case that any

        15   HyClone confidential information has somehow been misused.

        16   So --

        17              THE COURT:   If we try the case, the details of the

        18   HyClone formula will have to be in evidence, right?

        19              MR. KLEIN:   Some of them, but not the entire formula.

10:50   20              THE COURT:   I'm talking about the HyClone formula.

        21              MR. KLEIN:   Right.   I don't think the entire HyClone

        22   formula would have to go into evidence.

        23              THE COURT:   How would it not go into evidence if it's

        24   alleged to be the infringing product?

        25              MR. KLEIN:   The parties can --
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         1             THE COURT:    Under the -- am I remembering right, under

         2   the doctrine of equivalence, how is the whole formula not going

         3   to go into evidence?

         4             MR. KLEIN:    A number of ingredients that aren't

         5   required by the patent are just irrelevant to the case.           There

         6   would be no need -- I don't think there's any need to show the

         7   jury a complete formula with ingredients that will never be

         8   discussed in the case and that just aren't important.

         9             THE COURT:    This is discussed in some of the case law.

10:50   10   Celltrion and Janssen, as a practical matter, are the parties

        11   in the case.    Biogen, Samsung not parties to the case.          This is

        12   going to be a very complicated, challenging trial in any event,

        13   but I don't know that they're going to want to rely on you to

        14   decide what can go into evidence, and then you're going to have

        15   a battalion of people working all night, despite our best

        16   efforts to get everything possible done in advance of trial,

        17   and they're going to want to intervene and complain.

        18             At the moment, I'm not as sanguine as you are that

        19   Biogen's formula or confidential information is not going to

10:51   20   get exposed at trial.

        21             MR. KLEIN:    Your Honor, but that's an issue down the

        22   line.   After we take discovery, maybe we don't use it at all.

        23   Maybe a key point is that there are only two missing claim

        24   limitations and the actual formula isn't something that would

        25   need to be shown to the jury.      We don't know.     We haven't taken
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         1   discovery, but that's why I emphasize, again, the Rule 26

         2   issue, that admissibility is an issue down the line.          Right now

         3   we're just asking to take the discovery.        And if there are

         4   admissibility issues, if there are issues with regard to public

         5   disclosure, we can talk about that.       We have no problem

         6   providing notice to Biogen and Samsung Bioepis to give them an

         7   opportunity to be heard on any issues that could affect --

         8             THE COURT:    I may have a problem giving them an

         9   opportunity to be heard.     You can't even get -- we don't even

10:52   10   have Mr. Hurst here today -- can't even get all of the lawyers

        11   to argue these motions within the enclosure of the court

        12   because -- but, anyway, go ahead.       Go ahead.

        13             MR. KLEIN:    Those are the key points with regard to

        14   confidentiality.    HyClone's a third party.        The protective

        15   order has been working with them and their confidential media,

        16   and Bioepis agreed to very similar terms already.          To the

        17   extent there are additional terms, we're happy to talk about

        18   that if it's necessary, required.       And it might be irrelevant,

        19   depending upon what discovery shows.

10:53   20             THE COURT:    Okay, thank you.

        21             MR. KLEIN:    Thank you.

        22             THE COURT:    Who would like to be heard from Biogen on

        23   this?

        24             Say your name for the record, please.

        25             MR. HAUG:    Certainly.    Ed Haug.
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         1              THE COURT:    Tell me whatever you want to tell me;

         2   don't be too encouraged by my tentative views or my responses

         3   to Mr. Klein.

         4              MR. HAUG:    Thank you, your Honor.

         5              Well, I will say I think your Honor has the law

         6   correct.   I think what it really comes down to is the balance,

         7   the balance between what -- the relevance versus the need to

         8   know which comes from the Micro Motion case, for example, from

         9   the Federal Circuit.     It is balance, and I think the Court has

10:54   10   to make that balance and your Honor is making that balance, and

        11   ultimately, that will determine your ultimate view, I'm sure,

        12   as it should.

        13              I think the papers are very, very clear here, in

        14   particular, the declaration of Mr. Reusch, setting forth the

        15   supreme confidentiality and proprietary nature of the trade

        16   secrets that we're talking about here.       Biogen has set forth in

        17   that declaration began working on this cell media, its cell

        18   media, on a difference cell line, as I understand it, from what

        19   the defendants are using.      They started that work many years

10:54   20   ago, as is set forth, stated in the declaration; and they did

        21   invest substantially to do that.       It was not done in matter of

        22   weeks, months, it took a long time.

        23              It is a very, very complicated media in the sense of

        24   there are many, many components that go into that media, not

        25   just a couple, like a dozen, like there are many.
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         1             In addition, there are all kinds of processing details

         2   that are essential to how that media is prepared, how it is

         3   used, and how it ultimately fits into the cell line culture to

         4   ultimately result in Samsung Bioepis' infliximab.

         5             So what we really have here, your Honor, we have three

         6   products on the market, as I understand it.        You have Janssen's

         7   product, you have Celltrion's product, and you have Samsung

         8   Bioepis' product to which Biogen provides the cell media.

         9             So these are direct competitors.       And so the Biogen

10:55   10   cell media has never been publicly available, certainly never

        11   available to Celltrion, and will never be available to

        12   Celltrion short of an order from this Court to produce it to

        13   them.

        14             And in fact, as Mr. Reusch also states, the cell media

        15   used by Biogen, or provided by Biogen which is then used by

        16   Samsung, results in a higher yield, lower-cost product.           And

        17   again, this goes back to we're talking about direct

        18   competitors.    And certainly Biogen has a supreme interest not

        19   to share with a direct competitor on the market how to make a

10:56   20   noninfringing product.

        21             THE COURT:    Well, the argument is there's a

        22   protective -- you just heard it -- there's a protective order

        23   in this case, it prohibits Celltrion from using the formula, if

        24   it gets it, for competitive purposes.       It could only be used

        25   for the purpose of this litigation, and there are limitations
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         1   on who at Celltrion could see it.       So why would that not be

         2   adequate to protect Biogen's interest?

         3             MR. HAUG:    I think in most cases protective orders

         4   along the lines of what I understand is in this case is

         5   sufficient and not atypical.

         6             First of all, Biogen is not a party, as your Honor is

         7   aware; it's a third party.      The protective order that we have

         8   looked at here we think is -- falls well short of what it would

         9   have to be if there were to be a disclosure.        For example, I

10:57   10   believe it has access to in-house counsel, it has access to

        11   outside experts retained by the parties.        In fact, I think I

        12   received from counsel a proposal for five experts, five experts

        13   that they would like to show this to already.         And that's just

        14   one party in the case.

        15             And so we're talking about a situation where it's not

        16   just confidential information, it's highly proprietary trade

        17   secret information, that is what the company is all about.

        18   Biogen's product is that trade secret.       It's those ingredients,

        19   how they're put together, how they're used, and how that does

10:58   20   or doesn't result in a finally approved product, which is what

        21   happened here.

        22             THE COURT:    This isn't a rhetorical question.         Does

        23   your brief characterize the media as a trade secret?          Or maybe

        24   you're using that synonymous -- as synonymous with

        25   confidential.
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         1              MR. HAUG:    Standing here now, your Honor, I don't

         2   remember using those words "trade secret."

         3              THE COURT:    I don't recall that --

         4              MR. HAUG:    I'm sorry, I did not want to interrupt.

         5              It's certainly synonymous with highly proprietary,

         6   highly confidential.     Whether we used the words "trade secret,"

         7   I don't remember doing that.

         8              So, your Honor, again, I think back to the balance,

         9   which I think is really where it comes out.        The balance here

10:58   10   is it's highly, highly problematical for Biogen to disclose

        11   this information.

        12              THE COURT:    You just heard Mr. Klein argue you gave it

        13   to Janssen.   Why would it be a problem giving it to --

        14              MR. HAUG:    Biogen didn't give anything to Janssen in

        15   that case; they weren't in that case.       In fact, the documents

        16   that Samsung produced in that case, which I understand are the

        17   subject of the motion to compel against them, I've never seen.

        18   There's a protective order in that case.        So we weren't

        19   provided with those documents.

10:59   20              Now, without having seen them, do I believe they may

        21   have -- they have some Biogen information?        Yes.   I just don't

        22   know what it is.    Because, as I understand it, they produced

        23   some documents that were part of their BLA that they filed with

        24   the FDA.   So to the extent Samsung was working with Biogen's

        25   media, there may well be information in there, but I don't
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         1   exactly know what it is.     To the extent there's any Biogen

         2   proprietary information there, we do object to that being

         3   produced to the defendants here.       Different case, Biogen wasn't

         4   in it, and the subject matter of that case was the Samsung

         5   Bioepis product, including whatever Biogen did with them.          So

         6   that's not the case in here.      We are clearly not interested in

         7   the Celltrion product, or the Janssen product for that matter.

         8             THE COURT:    Okay.   I guess -- let me ask you this:         I

         9   have expressed the tentative view that I would allow a limited

11:00   10   deposition of Mr. Reusch essentially to test the allegations or

        11   the statements in his declaration, Docket No. 142, to clarify

        12   whether Biogen has ever licensed this.       Because I don't think

        13   it expressly says, although it implies, that Biogen hasn't

        14   licensed this to people it wasn't essentially in a joint

        15   venture with.    Do you want to be heard on that deposition?

        16             MR. HAUG:    Yes, your Honor.

        17             I don't believe the declaration mentions anything

        18   about licensing, you're correct there.       I'm sure we could

        19   supplement that declaration with another declaration on that

11:01   20   point.   I don't want to guess what the answer would be.          I'm

        21   not aware of any licensing to the public or to other parties

        22   beyond whatever relationship Samsung Bioepis has with Biogen.

        23   Beyond that, I'm not aware of any licensing arrangement.           But,

        24   again, I'm not the declarant, so I don't want to be -- I want

        25   to be certain about that.
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         1             THE COURT:    There are statements, you've mentioned

         2   some of them, that -- for example, paragraph A, I understand

         3   based on the information presently available to me that Biogen

         4   developed the Biogen media through extensive experimentation

         5   and expenditure of much effort and financial resources.

         6   Biogen's development of the Biogen media was an iterative

         7   process that took place continually over the course of many

         8   years before Biogen arrived at proprietary formulation of the

         9   Biogen media.

11:02   10             I don't know, that may be something -- the type of

        11   thing that defendant Celltrion might want to ask some questions

        12   about, which don't get into the ingredients or the formula but

        13   just the process.     So I was thinking I might allow them

        14   essentially to test the credibility of that or -- do you want

        15   to be heard on that possibility?

        16             MR. HAUG:    Based on my knowledge and my conversations

        17   with the declarant, he's very credible and this is accurate

        18   information, so I can make that statement.

        19             If your Honor decides that you want to order, compel a

11:03   20   deposition of the -- with the scope that you're talking about,

        21   perhaps I would propose written questions, deposition by

        22   written questions.

        23             THE COURT:    That's not my understanding of a

        24   deposition.

        25             MR. HAUG:    Your Honor will decide what you decide.
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         1             THE COURT:    What if -- I mean, this is coming to a

         2   little sharper focus.     They're going to want to ask:       Did you

         3   start with -- what are they calling it, an off-the-shelf media,

         4   is that --

         5             MR. KLEIN:    Essentially, or publicly available.

         6             THE COURT:    A publicly available media.      If I allow

         7   that limited question, do you perceive that would be a problem?

         8             MR. HAUG:    Based on what I think the answer would be,

         9   my answer would be no.

11:04   10             THE COURT:    Okay.   Thank you.

        11             Mr. Reusch lives in Lexington, Massachusetts.

        12             MR. HAUG:    Correct, your Honor.

        13             THE COURT:    So he's around here.     All right.

        14             Let's see, does Samsung want to be heard on this?

        15             MR. GAGALA:    Your Honor, Samsung wants to be heard as

        16   long as our documents are still at issue.

        17             THE COURT:    Could you say your name, please?

        18             MR. GAGALA:    Yes, your Honor.     It's Bruce Gagala for

        19   Samsung Bioepis.

11:05   20             The way the discussion has gone this morning, it

        21   sounds as if Samsung Bioepis documents are no longer at issue.

        22             THE COURT:    Mr. Klein, are they at issue?

        23             MR. KLEIN:    Yes.    We still certainly want them.     I do

        24   believe the formula was given to Janssen and the Court, but

        25   maybe Samsung Bioepis counsel can clarify that.
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         1              MR. GAGALA:    The question is, I thought from your

         2   Honor, was that the media is -- the composition of the media

         3   doesn't seem to be in question any longer.        It seems --

         4              THE COURT:    Oh, no, I haven't made a decision yet.

         5              MR. GAGALA:    I do want to be heard, your Honor.

         6              THE COURT:    Go ahead.

         7              MR. GAGALA:    I think we are starting in the wrong

         8   place, with all due respect.

         9              We're assuming relevancy under Rule 26, and, your

11:06   10   Honor, I disagree.      I think if you look at Rule 26 in this case

        11   is constrained by the Grain Processing case, and it's

        12   constrained by the Micro Motion case.       Both of those

        13   specifically say it's relevance and need.        Grain Processing

        14   identifies relevance in the context of availability to the

        15   defendant, to Celltrion.     It has nothing to do with what might

        16   be out there that somebody did --

        17              THE COURT:    Have you read my brief decision

        18   summarizing what I described at length last February, I

        19   think --

11:06   20              MR. GAGALA:    I did, your Honor.

        21              THE COURT:    -- on damages?   Because I found the

        22   availability essentially has two dimensions, one is available

        23   on the market, and if not -- I think they ought to be able to

        24   test the assertion that it wasn't available on the market.          But

        25   assuming it's not available on the market, then the question
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         1   would be could Celltrion have quickly developed its own or take

         2   up the question -- develop its own noninfringing alternative?

         3             MR. GAGALA:    Your Honor, I don't disagree with that,

         4   but with a caveat.     The caveat is very clear, it's very clear

         5   on the case law, based on Celltrion's knowledge, experience,

         6   availability of materials, et cetera.

         7             THE COURT:    Precisely, and that's -- go ahead.

         8             MR. GAGALA:    And that is precisely why we need to stop

         9   this inquiry, because the answer to that is very simple.            It

11:08   10   wasn't available to Celltrion at any point in time prior to the

        11   time of the commercialization by Biogen.        In other words,

        12   once -- if we look at the case law, your Honor, let's look at

        13   Grain Processing.    I also would like to look at Slimfold.

        14             THE COURT:    Which one?

        15             MR. GAGALA:    Slimfold Manufacturing Company.          It's

        16   cited in our brief --

        17             THE COURT:    It's in your brief?

        18             MR. GAGALA:    It's in the brief.

        19             THE COURT:    Hold on a second.     I'll get it.    You cited

11:08   20   it; I should have it here in court.

        21             (Pause.)

        22             THE COURT:    What is the cite for it, please?          If it

        23   was in your brief, we should have printed it out, but we don't

        24   seem to have it.

        25             MR. GAGALA:    It's 932 F.2d 1453, Slimfold --
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         1              THE COURT:    Say it again.

         2              MR. GAGALA:    932 F.2d 1453.

         3              THE COURT:    And what's it called, the name of the

         4   case?

         5              MR. GAGALA:    It's Slimfold Manufacturing Company, Inc.

         6   v. Kinkead Industries.

         7              THE COURT:    Okay.

         8              MR. GAGALA:    Your Honor, if we're going to do it this

         9   way, I'd like to then talk about four cases in tandem then.

11:09   10              THE COURT:    What's that?

        11              MR. GAGALA:    I'd like to talk about four cases in

        12   tandem.

        13              THE COURT:    Do you have slides there?

        14              MR. GAGALA:    No, your Honor, I don't have anything to

        15   hand up.

        16              THE COURT:    What are the four cases?     If you've cited

        17   them, I should have them.

        18              MR. GAGALA:    Okay.   The first one, of course, is the

        19   Grain Processing case that we've been talking about.

11:09   20              THE COURT:    I've got that.

        21              MR. GAGALA:    The second one is the Slimfold case that

        22   I just mentioned.    The third case is the Micro Chemical case,

        23   your Honor.

        24              THE COURT:    I have that.

        25              MR. GAGALA:    And the fourth case is the Siemens case,
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         1   your Honor.

         2             THE COURT:    Siemens?

         3             MR. GAGALA:    Yes.   Siemens v. Saint-Gobain.

         4             THE COURT:    All right.

         5             I have all of them, except Slimfold.

         6             MR. GAGALA:    If you look at the cases, because

         7   Slimfold is discussed at length, actually, in the Grain

         8   Processing case; and the MicroChemical case also, your Honor,

         9   is also a very interesting case.

11:10   10             What we have is a situation where --

        11             (Pause.)

        12             MR. GAGALA:    When we look at these four cases

        13   together, your Honor, it's very clear that what we have to find

        14   is relevance, and that's the threshold inquiry, to find

        15   relevance, is was the product on sale or commercially

        16   available?     Was it otherwise in the public domain?      Or was it

        17   somehow privately known by the accused infringer such that the

        18   accused infringer could make a change to make an noninfringing

        19   alternative?

11:11   20             So, your Honor, when we get to the point of what was

        21   available to Celltrion, it's not just randomly what might have

        22   been out that somebody in the universe might have been doing.

        23   They have to bring it back to the idea that it was commercially

        24   available or on sale or was otherwise publicly known, and/or

        25   that they personally had knowledge.
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         1             THE COURT:     The way I've -- I've considered the point

         2   you're making now and have thought -- the issue isn't whether

         3   Biogen was capable of developing a noninfringing media.           The

         4   question is whether Celltrion was capable of developing a

         5   noninfringing media knowing what was publicly available which

         6   doesn't include the Biogen formula.

         7             MR. GAGALA:     That's correct, your Honor.

         8             THE COURT:     Is that a good way of thinking about it?

         9             MR. GAGALA:     I think that's an excellent way of

11:12   10   thinking about it.     I think that's exactly why this motion to

        11   compel should be denied.     It should be denied as to Biogen and

        12   it should be denied as to Samsung Bioepis.        Because no matter

        13   what we say, no matter what they tell you hypothetically they

        14   could have done, might have done, would have been wonderful to

        15   do, the answer is they didn't have the wherewithal because they

        16   didn't have the Biogen media at the relevant time frame.           And

        17   they still don't.    And they don't have the Samsung media at the

        18   relevant time frame, they still don't, and they never will.

        19   You just heard from Mr. Haug that they never will.

11:13   20             So, your Honor, it's very clear that we need to start

        21   the inquiry under Rule 26 with Grain Processing with relevancy

        22   and need, and that's what these cases are telling us to do.

        23             THE COURT:     Thank you.

        24             And does Janssen want be to heard?

        25             MR. DISKANT:    Yes, your Honor, briefly.
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         1             On the issue of the motion to compel, I don't think we

         2   have much of a horse in the race.       That is to say, we don't

         3   really care if the motion is granted or denied so long as it

         4   doesn't disrupt the discovery schedule.

         5             However, I think I agree very much with the comments

         6   made by the Samsung counsel, and I think Mr. Klein's

         7   presentation of what the issues are is incorrect.         So I would

         8   like to briefly be heard where does this all shake out,

         9   because, in my view, all of these could have, would have,

11:14   10   should have exercises which they are engaged in mightily in the

        11   noninfringing alternatives discovery period will be excluded at

        12   trial and will be subject of a summary judgment motion by us.

        13             So what did you decide last time?       You decided what

        14   the relevant time period was, from the date of first

        15   infringement more or less to the time at trial, and that's

        16   fine.   And we've disagreed with that, but that's fine.

        17             What the time period defines is the time period in

        18   which one can consider whether an acceptable noninfringing

        19   alternative was either on the market or available.         And prior

11:14   20   to Grain Processing, on the market was all there was.             There

        21   was no -- basically Grain Processing is the first case to go

        22   beyond that and say, okay, it's entirely fair that if a

        23   noninfringing alternative was not on the market but nonetheless

        24   available to the defendant, you know, that counts, too.            So

        25   we're interested in that.      But it can't be speculative, it
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         1   can't be hypothetical, it can't be theoretical.          It's got to be

         2   available.    And on the facts of Grain Processing, available

         3   meant practically instantaneously available, two weeks.           Case

         4   law since that time has used I think a word your Honor used,

         5   which is "readily available."       MicroChem defines it that way,

         6   Siemens does the same.       If the substitute cannot be

         7   commercialized readily, then it is not available.

         8               THE COURT:     I'm sorry, you're reading from MicroChem?

         9               MR. DISKANT:    No, I'm reading from Siemens.

11:15   10               THE COURT:     What page?

        11               MR. DISKANT:    Excuse me?

        12               THE COURT:     What page?

        13               MR. DISKANT:    I am very embarrassed, Judge, but I have

        14   a printout that doesn't have pages on it.

        15               THE COURT:     Just go ahead.

        16               MR. DISKANT:    In any event, readily available will be

        17   the test.

        18               In each and every one of these noninfringing

        19   alternative cases, the alternative that was pointed to was

11:16   20   actually developed in the real world.          It was not a theoretical

        21   alternative, it was a real-world alternative.

        22               In MicroChem there's a real-world alternative but it

        23   took four months to create it.          And the Federal Circuit said

        24   that's a summary judgment issue; four months is not readily

        25   available.    And so, you know, the other cases are year, year
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         1   and a half.

         2             You know, we talked about the Apple v. Samsung case

         3   when we were here last time.       Where that finally wound up in

         4   the Federal Circuit after trial, the alternatives that Samsung

         5   pointed to were real-world alternatives, phones that it had

         6   actually developed.

         7             So this entirely hypothetical exercise is one that has

         8   never received any traction in any court anywhere.         There is

         9   not going to be something that was readily available to the

11:17   10   defendants at any time.     From 2009 until today they do not have

        11   a readily available alternative cell media.        It would take them

        12   nine months, 12 months, a year and a half.        It would take a

        13   long time to develop.     And for purposes of the lost profits

        14   analysis, that just has nothing to do with the analysis.          It

        15   will wash away on summary judgment.

        16             So I think your Honor's proposal of, you know, having

        17   a deposition or some brief inquiry to confirm the declaration

        18   seems like a practical choice to me.       Again, we don't really

        19   have a horse in the race.       But we do have a horse in the final

11:17   20   race, which is what is an available -- a readily available

        21   alternative that's not hypothetical or theoretical.         And none

        22   of this discovery that they are engaged in on this subject has

        23   anything to do with that subject.

        24             THE COURT:    Okay.

        25             Mr. Klein, do you want to respond to any of that
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         1   briefly?

         2              MR. KLEIN:   Briefly, your Honor.

         3              First of all, what Mr. Diskant was talking about may

         4   relate to admissibility at trial.       Again, we're just here for

         5   discovery.

         6              We don't know what development efforts Biogen went

         7   through, and that's why we want to take the discovery.

         8              And so to get back to one of the hypotheticals, your

         9   Honor, with regard to the missing claim limitations, if your

11:18   10   Honor allows a deposition, may we ask the witness how many of

        11   the claimed ingredients are not in the Biogen media?

        12              THE COURT:   No.   Not my present conception.

        13              The question is whether you can do it, not whether

        14   they had the ingenuity do it.

        15              I'm going to take a brief break.      Court is in recess.

        16              THE CLERK:   All rise for the Honorable Court.

        17              (After recess).

        18              THE CLERK:   Court is back in session.      You may be

        19   seated.

11:44   20              THE COURT:   With regard to Celltrion's motions to

        21   compel Janssen, which are Docket Nos. 86 and 87, and Biogen and

        22   Samsung Docket Nos. 127 and 128 to provide documents and

        23   depositions regarding Biogen's cell culture medium used to make

        24   Samsung's infliximab or biosimilar product Renflexis, I am

        25   hereby denying the motions, except I will allow a limited
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         1   deposition of Biogen, presumably the affiant, John Reusch,

         2   whose declaration, No. 142, concerning the development of the

         3   Biogen media used to produce Renflexis, the deposition

         4   essentially testing the credibility of that affidavit and

         5   clarifying whether Biogen ever licensed the formula, the media,

         6   will be allowed.

         7             With regard to the standards that are relevant,

         8   basically, as the parties recognize, I have to determine

         9   whether the information sought is relevant.        If it is, I have

11:46   10   to determine if there are legitimate competing considerations

        11   that weigh against allowing discovery, and if there are such

        12   competing considerations, I have to balance them.

        13             I do find that the information being sought is

        14   relevant for trial purposes.      Federal Rule of Evidence 401

        15   defines relevant evidence as evidence that has a tendency to

        16   prove a fact or disprove a fact that has a consequence of

        17   deciding an issue in the case.

        18             The Supreme Court in Oppenheimer, 437 U.S. 340, 351,

        19   stated in 1978 that relevance is more broadly construed as

11:47   20   information bearing on the issues in the case for the purpose

        21   of discovery, as opposed to admissibility.

        22             If the information sought is relevant, Samsung and

        23   Biogen must show that the information at issue was confidential

        24   and that disclosure would harm or create a risk of harm to

        25   Biogen and Samsung.
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         1               If the information at issue is relevant and disclosure

         2   would involve harm or risk of harm to Biogen and Samsung, I

         3   have to decide whether the defendants' need for the information

         4   is outweighed by the potential injury to Biogen and Samsung, as

         5   the 1st Circuit said in Cusumano, C-u-s-u-m-a-n-o, 162 F.3d

         6   708, 716-17.    That's, I think, the standard that would apply in

         7   the Federal Circuit as well.

         8               I do find the information that defendant is seeking is

         9   relevant.    As I've explained previously, if Janssen proves that

11:48   10   the HyClone media used to -- well, if Janssen proves that the

        11   HyClone media infringes Janssen's '083 patent and Celltrion

        12   induced that infringement, the plaintiff will be entitled to

        13   recover the profits it proves it would have made after

        14   Celltrion began selling Inflectra, its biosimilar to Remicade,

        15   in the United States in about January 2017 but for the

        16   infringement.

        17               The reasons for that conclusion are reflected in the

        18   transcript of the guidance I rendered last year, as

        19   memorialized in Janssen, 239 F.Supp. 3rd 328, 330-331.

11:49   20   Basically I was relying on Grain Processing, 185 F.3d 1341,

        21   1350-51.

        22               Janssen would be limited to receiving a reasonable

        23   royalty rather than lost profits if there was an adequate

        24   alternative to the '083 media available to it as of the date of

        25   first infringement, as the Federal Circuit explained in Grain
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         1   Processing at 1350-51.

         2             In MicroChem, 318 F.3d at 1123, the Federal Circuit

         3   characterized Grain Processing, as finding that in that case, a

         4   substitute was readily available.

         5             In Siemens, 637 F.3d 1269, 1288, also uses the term

         6   "readily available."

         7             If there was not an adequate noninfringing alternative

         8   available or readily available on the date of first

         9   infringement, then Janssen will be entitled to recover its

11:50   10   proven lost profits after the sale of Inflectra began in about

        11   January of 2017, again, as reflected in the published decision

        12   memorializing my reasoning, Janssen, 239 F.3d at 328.

        13             This will require determining whether there was an

        14   acceptable noninfringing alternative on the market, meaning

        15   available to be bought or licensed by Celltrion.         As the

        16   Federal Circuit said in Grain Processing at 1349, if an

        17   acceptable noninfringing alternative was not available to be

        18   bought or licensed, it must be shown -- the defendant,

        19   essentially, Celltrion must show that it had the relevant

11:51   20   know-how, experience, and capability to make its own

        21   noninfringing alternative.      That language comes from MicroChem,

        22   318 F.3d 1119, 1123.

        23             After reviewing confidential documents concerning the

        24   Biogen media subject to a protective order, Janssen dismissed

        25   its case alleging that the Biogen media infringed the '083
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         1   patent and publicly stated that it did not infringe.          That is

         2   reflected in Docket No. 119-5 at page 1, a Law 360 November 14,

         3   2017 article quoting a Janssen representative.

         4             Therefore, the Biogen media is evidence that it is

         5   feasible for someone to create a noninfringing media capable of

         6   producing a product biosimilar to Janssen's Remicade.             This is

         7   relevant to the issue of whether Janssen is entitled to only a

         8   reasonable royalty rather than lost profits if it proves that

         9   Celltrion is responsible for any infringement of the '083

11:53   10   patent.

        11             Biogen, however, states that it has not sold its media

        12   and implies that it has never licensed it.        Rather, Biogen

        13   asserts that the formula for its media is carefully protected,

        14   proprietary, confidential information.       This is stated in

        15   Reusch, R-e-u-s-c-h, declaration, which is Docket No. 142.

        16             If this is true, the Biogen media was not available to

        17   Celltrion on the market.     However, the formula for the Biogen

        18   media is relevant to whether Janssen could have, on its own,

        19   have developed -- readily developed a noninfringing media from

11:54   20   publicly available information which does not include the

        21   Biogen or Samsung media.

        22             Federal Rule of Civil Procedure 26(c)(1) authorizes

        23   the issuance of protective orders permitting the discovery of

        24   relevant evidence.    The Federal Circuit has recognized that

        25   confidential commercial information warrants special protection
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         1   under the rule.    It said that in Micro Motion, Inc., 894 F.2d

         2   1318, 1323.

         3             In addition, the Federal Circuit has stated that

         4   courts have presumed that disclosure to a competitor is more

         5   harmful than disclosure to a noncompetitor.        That's American

         6   Standard, Inc., 828 F.2d 734, 741.       This is such a case.

         7             As the parties recognize, the Rule 26(c) standard also

         8   applies to motions to compel, as the Federal Circuit said in

         9   Micro Motion, 894 F.2d at 1323.

11:55   10             Therefore, there are legitimate competing

        11   considerations the Court must balance in deciding the motion to

        12   compel.

        13             Celltrion argues that the protective order restricting

        14   the dissemination and use of confidential information assures

        15   Biogen and Samsung will not be harmed by the disclosure of

        16   confidential information concerning its media.         Despite the

        17   protective order, however, there is a real risk that Biogen

        18   confidential information or Biogen and Samsung confidential

        19   information will be disclosed at trial and available for use by

11:56   20   competitors, possibly including Celltrion, but certainly other

        21   present and potential competitors.

        22             As I discussed with the parties on February 7, 2017,

        23   and as defendants' counsel acknowledged, the protective order

        24   now in effect governs pretrial proceedings only.         That's

        25   reflected in the February 7, 2017 transcript at 65.         I have the
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         1   express authority to modify the protective order.         It's

         2   reflected in Docket 170 at paragraph 15.

         3               Celltrion's goal is to get evidence concerning

         4   Biogen's media it can introduce at trial.        Although we're not

         5   at that stage yet, information presented at trial is

         6   presumptively public, while information produced in discovery

         7   but not used as a basis for judicial decisions is presumptively

         8   confidential.    The 1st Circuit has discussed this recognized

         9   principle in Poliquin, 989 F.2d 527, 533, and Anderson v.

11:57   10   Cryovac, 805 F.2d 1, 11-12.

        11               A higher standard is necessary to justify safeguarding

        12   the confidentiality of evidence introduced at trial, as the 1st

        13   Circuit also said in Poliquin at 533.       The 1st Circuit stated

        14   that that is appropriate only in rare circumstances.

        15               As the Federal Circuit has written in an analogous

        16   case, it would be divorced from reality to believe that either

        17   party here would serve as the champion of its competitor either

        18   to maintain the confidentiality designation or limit public

        19   disclosure as much as possible during the trial.

11:58   20               Here, Biogen and Samsung would, in fact, lose all

        21   control of the situation since disclosure of its information

        22   depends on the action by a court before whom it has no

        23   standing.    That's Micro Motion 894 F.2d at 1325.       Moreover,

        24   even if I allowed Biogen and Samsung to intervene to litigate

        25   this issue in connection with the trial, there's a real risk
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         1   that ordering -- there's a real risk that I would order

         2   disclosure of confidential information concerning Biogen's

         3   media in connection with the trial.

         4             In addition, and significantly, Celltrion does not

         5   have a substantial need to know the confidential formula for

         6   Biogen's media.    It has Janssen's admission that Biogen's media

         7   which is used to to produce Renflexis does not infringe the

         8   '083 patent.    This tends to show, or shows, that it is possible

         9   for someone to develop a noninfringing alternative.

11:59   10             However, as explained earlier, the relevant question

        11   is whether Celltrion had the relevant know-how, experience, and

        12   capability to make its own noninfringing alternative.             That's

        13   MicroChem, 318 F.3d at 1123.

        14             I don't find the formula for Biogen's media to be

        15   probative or significantly probative of this issue.         Indeed, if

        16   what Biogen did in developing its noninfringing media is

        17   obvious and easy, an expert for Celltrion, such as Dr. Glacken,

        18   should be able to identify the formula for a media that doesn't

        19   infringe on his own.

12:00   20             Therefore, the request for disclosure of confidential

        21   documents and information concerning Biogen and Samsung's media

        22   is being denied.

        23             However, I am authorizing a limited deposition of John

        24   Reusch to test the credibility of the assertions in his

        25   declaration that Biogen's media was not available to be
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         1   acquired by Celltrion on the market because Biogen did not sell

         2   it to third parties with which it was not in a joint venture or

         3   closely collaborating, such as Samsung.

         4             Celltrion can also ask whether Biogen licensed the

         5   media to third parties similarly situated to Celltrion with

         6   whom it was not collaborating.

         7             Celltrion can also test the assertions in the

         8   declaration, or Reusch declaration, as to the process for

         9   developing the Biogen media, including the number and nature of

12:01   10   the scientists involved and the length of time and expense

        11   involved in developing it.

        12             I will let Celltrion ask if Biogen began with a

        13   publicly available media and optimized it.        However, I will not

        14   permit questioning about which media if it started with a

        15   publicly available media, nor will Reusch be required to

        16   disclose the confidential formula or any of its ingredients.

        17             So the question comes next:      When should this

        18   deposition be conducted?     Is there a reason it can't be done in

        19   the next two weeks?

12:02   20             MR. HAUG:    I don't know Mr. Reusch's schedule, but I'm

        21   not aware of any reason.

        22             THE COURT:    All right.    Does Celltrion want to take

        23   the deposition soon?

        24             MR. KLEIN:    The sooner the better, your Honor.

        25             THE COURT:    I agree, the sooner the better.
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         1             Can I see the book?

         2             The deposition I just described shall be conducted by

         3   March 2, 2018.

         4             I'm ordering that the parties order on an expedited

         5   basis the ruling, the transcript of the ruling I just made,

         6   which will provide the framework for the deposition, and as

         7   Celltrion and Janssen know, you don't want to have any

         8   discovery disputes to bring to me.       I'm not going to probably

         9   go question by question if there are a large number of them.

12:03   10   I'm going to look, and if there are themes, I'm going to see

        11   who is most reasonable.     One of you will win, and one of you

        12   will lose.   And I think in view of the argument and what I just

        13   said, it should be clear what the parameters of the permissible

        14   questions are.    You should be able to operate within them.            So

        15   as much as I like seeing you, you don't want to see me again on

        16   this.

        17             We're going to take a brief break.       I want to start

        18   with the argument on the motion to dismiss the counterclaim and

        19   reply.   I expect we'll have to continue it after lunch.          But

12:04   20   court is in recess.

        21             THE CLERK:    All rise for the Honorable Court.

        22             (Recess taken.)

        23             THE CLERK:    All rise for the Honorable Court.

        24             THE COURT:    You may be seated.

        25             With regard to the motion to strike or dismiss
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         1   plaintiffs' Section 271(f)(1) counterclaim and reply, briefly

         2   my tentative view is the following.

         3             The 271(f)(1) counterclaim states a plausible claim

         4   that the defendants caused all or a substantial portion of the

         5   components of the allegedly infringing HyClone media to be sent

         6   to Singapore to be combined.      It appears to me at the moment

         7   that this is a compulsory counterclaim which does not require

         8   leave of court.    Once again, my late friend and colleague Judge

         9   Becker is instructive in Southeastern, 70 F.R.D. 585-86.          If

12:13   10   leave of court were required, this would be -- and the Foman

        11   standards applied, this would be a close question, but, at the

        12   moment, I don't think this is discretionary.

        13             If the counterclaim is not dismissed, I am interested

        14   in knowing what discovery, if any, the plaintiff will be

        15   seeking, what discovery, if any, the defendant will be seeking,

        16   and the impact on schedule for trial.

        17             There is one thing if the counterclaim is not

        18   dismissed I want to discuss with you is whether there's a

        19   way -- well, how you would do expedited discovery on my ability

12:14   20   and whether there could be the quick preparation of a motion

        21   for summary judgment on liability.       Because if there's no -- if

        22   Celltrion were to get summary judgment on liability, the

        23   damages issues would be moot.

        24             So that's my present state of mind.

        25             It's Celltrion's motion to dismiss, so who would like
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         1   to address it?

         2               MR. HALES:   Your Honor, Ms. Cutri is going to address

         3   that motion.

         4               Before she stands up, could I have -- not on the

         5   motion, we understand your ruling on the motion that Mr. Klein

         6   argued, got it loud and clear.

         7               Can I make a comment about noninfringing alternatives

         8   more broadly just because of some of the things that I observed

         9   about that discussion, because that's an important issue for

12:15   10   the case?

        11               THE COURT:   Go ahead.

        12               MR. HALES:   I'll be quick.

        13               Clearly, your Honor, the noninfringing alternatives

        14   question is one where we're reconstructing the hypothetical

        15   market, everybody gets that, and that's recognized in Grain

        16   Processing.    And certainly the patent owners in that context

        17   always reconstruct that argument in a very favorable way, and

        18   you can rest assured that Janssen has done a very, very

        19   favorable-for-them reconstruction of how things would have

12:16   20   played out.

        21               The thing that I think where I want to make sure the

        22   Court doesn't lose sight of as we get down the road on this

        23   question is that what Grain Processing recognizes, your Honor

        24   knows, is that you also have to account for what the infringer,

        25   the accused infringer, would have done to have a fair
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         1   reconstruction of that market.      And as they say in Grain

         2   Processing, without the infringing product, a rational would-be

         3   infringer is likely to offer an acceptable noninfringing

         4   alternative, if available, to compete; and your Honor has

         5   talked about that.     The competitor in that marketplace is

         6   hardly likely to surrender complete market share when faced

         7   with a patent if it can complete in another lawful manner.

         8             And one of the things they say that I think we've lost

         9   sight a little bit of is, moreover, only by comparing the

12:16   10   patent invention to its next best available alternative,

        11   regardless of whether they were actually produced and sold

        12   during the infringement, can the Court discern the market value

        13   of the patent owner's exclusive right.       So it's not just a

        14   question of what we did, clearly, it's what would we have done

        15   in that world.

        16             And then the final point which I'm trying to get to,

        17   you Honor, because this I don't think really came up, and that

        18   is, this is a different situation than many cases.         In most

        19   cases that are out there, the date of first infringement

12:17   20   coincides with the date on which the patent owner is asking for

        21   their lost profits to begin accruing.

        22             THE COURT:    I pointed that out.

        23             MR. HALES:    Yes.   This is not that case, though.        The

        24   date of first infringement is 2009, and our first sales of

        25   Inflectra are eight years later in 2017.
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         1               So when you're thinking about what would have

         2   happened, especially with the Court's and Mr. Diskant's focus

         3   on readily available and how fast and Mr. Diskant saying nine

         4   months is too long, when they show up in 2009 to ask for a

         5   billion dollars, the relevant question, we submit -- and this I

         6   know is for another day, but Mr. Diskant is talking about

         7   evidence can be excluded, we submit that's dead wrong.            Because

         8   the question the law asks is, in 2009 when they show up asking

         9   for a billion dollars, what do we do?       And we have a lengthy

12:18   10   period of time to go about the business of trying to figure out

        11   what to do before there's any lost profits.

        12               THE COURT:   We're not going to resolve this now, and

        13   this doesn't affect my ruling, but it's a useful

        14   conversation --

        15               MR. HALES:   Understood.

        16               THE COURT:   -- because I was beginning to wrestle with

        17   the same issue myself, which is part of the reason I made that

        18   distinction.

        19               Let me just -- I don't have Grain Processing right in

12:18   20   front of me.    I think it says, you know, essentially would you

        21   have been able to -- would Celltrion in this case have been

        22   able to do something to get to the market at the same time

        23   without infringing?      That's kind of how I was beginning to

        24   think about it.    You might argue that's the right way to think

        25   about it.    But then, what's the date of first infringement?
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         1   And I'd have to be reminded or educated on this.

         2              I don't know or remember when HyClone and Celltrion

         3   started working together and if they were doing this as of 2009

         4   and there is that long FDA approval process.        My current

         5   reaction to your observation is that Celltrion would have had

         6   to have come up with a noninfringing alternative before it went

         7   to the FDA, because the FDA process took as long as it took.

         8   If I remember right, you'd have to be able to show you would

         9   have gotten to the market at the same time.

12:20   10              MR. HALES:   Two points on that, your Honor, and I

        11   think --

        12              THE COURT:   Am I talking about the right issue?

        13              MR. HALES:   I think you're absolutely talking about

        14   the right issue.    What I would add to that, I think you're

        15   thinking about it in a reasonable way.

        16              I think clearly there is this disconnect in this case,

        17   right, and your Honor already decided in one of the rulings you

        18   made when we were arguing damages some time ago that the date

        19   of first infringement goes back to 2009, or that the relevant

12:20   20   question is what is the date of first infringement.         HyClone

        21   was working on this already in 2009.       So that we think -- I

        22   think they're still trying to dispute that maybe, but I think

        23   your Honor already decided that.

        24              THE COURT:   When do they think the date of first

        25   infringement is?
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         1             MR. HALES:    I think Mr. Diskant said last week they

         2   might still be trying to say the date we come on the market or

         3   something.   I don't know if they've moved on beyond that.        But

         4   we clearly believe, and we already argued to your Honor that

         5   this goes back to 2009 when the patent issues, because HyClone

         6   was already working on media then.

         7             In that scenario they may want to argue about how much

         8   time is used up by the FDA, and if they want to argue that we

         9   have to have something that -- let's assume for a second we

12:21   10   have to show that we could have gotten to market at the same

        11   time with an alternative -- I'm not sure that's right, but I'll

        12   come back to that in a second -- that still leaves a period of

        13   eight years in which, even if they're arguing some of that time

        14   was used with the FDA, if we take the nine months Mr. Diskant

        15   talked about just as the number he threw out, and I'm not

        16   saying he's conceding that point, but he used nine months to

        17   figure out a new media, to optimize a media.        The question then

        18   would be something along the lines of in that period of time do

        19   we have enough time to change media and get FDA approval and

12:21   20   still come on the market when we did.       And I think we'll be

        21   able to prove that we did.

        22             The second point I would make is I don't think lost

        23   profits is an either/or litmus test, thumbs up, thumbs down.

        24   You can also show -- you can't, perhaps, defeat lost profits

        25   entirely if you can't show that you could have the alternative
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         1   readily available, but you could a little bit of time into the

         2   period of infringement cut them off if you could demonstrate

         3   that that would be your approach under these same principles of

         4   Grain Processing.

         5             So I do think -- I appreciate your Honor taking --

         6   like, indulging this conversation, because we do have a very

         7   different view than the way it was being portrayed there.         I

         8   agree it's not going to be resolved today, but I think it's

         9   super important, given the significance of these issues, that

12:22   10   we are thinking about this or have the opportunity to start

        11   making sure that your Honor understands that we have a very

        12   different view of this framework, the way Grain Processing

        13   plays out.

        14             THE COURT:     I was thinking about that, part of the

        15   reason I tried to clarify that there would be no issue of lost

        16   profits until January of 2017.       And when the time comes again,

        17   I'll study whatever you give me and listen to you.

        18             In a way, you're indicating that Janssen and Celltrion

        19   are on the opposite side of the arguments that I was

12:23   20   anticipating.    I thought -- but anyway.      It's not immediate.

        21             MR. DISKANT:    I know it's not immediate, but may I

        22   just comment on all of this?

        23             THE COURT:     Yes, yes.

        24             MR. DISKANT:    I actually found this a fascinating

        25   subject, and we've spent a large amount of time reading all of
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         1   the cases, and I know your Honor will when it's time for

         2   thinking about summary judgment and jury charges.

         3             But I think what defendants are doing is entering the

         4   world of speculation and theory, and that Grain Processing

         5   creates a very narrow expansion of the idea of on the market.

         6   The narrow expansion is available, and as clarified by

         7   MicroChem and Siemens, it's readily available.

         8             In the but-for world, it may be that damages don't

         9   start accruing until 2017, but infringement -- the reason we

12:24   10   have a dispute about that is the jury is going to decide the

        11   date of first infringement based on the facts.         I don't think

        12   we need -- for purposes of this discussion, we'll just say it's

        13   October 1, 2009, the day the patent issued.

        14             Every day thereafter there was infringement.            And so

        15   filing with the FDA, they've got to stop infringing.          In order

        16   to reconstruct this world, they have to stop infringing, and

        17   they have to have a readily available alternative if they want

        18   to defeat lost profits.

        19             So I think in the end, it's going to turn on what was

12:25   20   readily available, and all of these -- we could have done this

        21   and we could have done that.      I think it will be interesting to

        22   take a look back at Judge Koh's opinion in Samsung v. Apple

        23   where she sort of talks about these alternatives.         When push

        24   comes to shove at trial, we're talking about real things.

        25   They're not talking about we could have done this and we could
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         1   have done that.

         2               THE COURT:     I will look at all of that.

         3               I think it's coming somewhat into focus.      There's

         4   something distinctive about this case probably as compared to,

         5   say, Grain Processing, and that is the requirement of FDA

         6   approval.    There is -- and I don't know, this may be -- I say

         7   it may be theological; I think it has some practical

         8   consequences.

         9               My understanding at the moment, but I'm not as

12:26   10   immersed in this as I was a year ago and as I will be again, is

        11   that in the real world -- the date that has monetary

        12   implications is January 2017.       Since they weren't selling, you

        13   couldn't have lost any profits to them before them.         So if

        14   there was infringement before then, you'd be limited to a

        15   reasonable royalty.      And I don't know when, at the moment, when

        16   they went to the FDA.       And if they had a year before they went

        17   to the FDA, maybe they would have had a year to come up with an

        18   available alternative, although I don't know what leads to

        19   thinking -- what kind of tests you have to do before you go to

12:26   20   the FDA.

        21               MR. DISKANT:    I think you got to push that date back.

        22   You'll hear the facts, obviously, but they can't start clinical

        23   trials until they have a cell media.       They don't start -- the

        24   clinical trials they began in 2009 or '10, '10, I think, were

        25   for worldwide approval.       Entities like this don't have one set
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         1   of clinicals for the U.S. and one set for the rest of the word.

         2   So they're doing the clinical trials, they're seeking

         3   approval --

         4               THE COURT:     All right.   I think we're going to have to

         5   stop this.

         6               MR. DISKANT:    Okay.

         7               THE COURT:     Ms. Cutri is getting anxious.

         8               I think you've identified an issue, and I do think --

         9   all I know now is there's a question.        I don't suggest I have

12:27   10   even a tentative view on the answer, and it will be dependent

        11   on the facts to some degree.        But it's not as simple as if

        12   you're selling something that doesn't require FDA approval.

        13               MR. HALES:     I agree, your Honor.    And I can give you

        14   the date.    We actually went to FDA approval in 2014.        That's

        15   when we sought FDA approval.

        16               There's a lot of facts that are out there.       I

        17   appreciate your Honor allowing me to explain this context,

        18   because it's important what we would do on that date when they

        19   show up in '09.

12:28   20               THE COURT:     Okay.

        21               All right.     Ms. Cutri, you're up.

        22               (Discussion off the record.)

        23               MS. CUTRI:     We do have copies of slides.    May I

        24   approach?

        25               THE COURT:     Yes.
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         1             MS. CUTRI:    Five?

         2             THE COURT:    Yes.

         3             We'll make this Exhibit 2.

         4             (Exhibit 2 marked for identification.)

         5             THE COURT:    Do you have an idea of how long you hope

         6   to have to do this?

         7             MS. CUTRI:    I think it depends on what your Honor

         8   wants to hear and what you want to focus on.        It depends on

         9   what you want to hear.

12:30   10             I'd like to cover the things we haven't talked about

        11   first, which are the kind of legal issues.

        12             THE COURT:    The legal issues are very important.        As I

        13   told you, my tentative view is that this is a compulsory

        14   counterclaim that can be asserted in a reply to a counterclaim,

        15   and I have no discretion.       If I have no discretion, we can --

        16   the Foman factors are not relevant, so it may actually make

        17   sense to focus on that.     But you can also -- there's also the

        18   question of whether it states plausible claims.

        19             MS. CUTRI:    That's right.

        20             THE COURT:    Is that where you wanted -- where did you

        21   want to start?

        22             MS. CUTRI:    That is what I was going to start with.

        23             THE COURT:    Plausible claims.

        24             MS. CUTRI:    Yes, futility --

        25             THE COURT:    I may let you argue that and then hear
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         1   from Janssen, because if you persuade me there's no plausible

         2   claim, you can go home earlier.

         3               MS. CUTRI:   That makes sense.    That's fine with us.

         4   Thank you.

         5               Okay.   And so here we are, our futility argument, as

         6   we put it, our futility argument.       I'd like to address

         7   Celltrion and Hospira in turn since there are claims against

         8   both defendants and they are slightly different.

         9               THE COURT:   I haven't decided the motion for summary

12:31   10   judgment on Hospira, in part -- I haven't decided it, and let's

        11   focus on Celltrion.      Because as a practical matter, if

        12   Celltrion is in the case, Hospira is going to be in the case

        13   for present purposes until I decide the motions for summary

        14   judgment.

        15               MS. CUTRI:   I think there are some important

        16   differences between Hospira and Celltrion here.         I'll get to

        17   that, but there are also some overlap.       There's some issues --

        18               THE COURT:   I don't want to hear about Hospira.       I

        19   want to here about Celltrion.

12:32   20               MS. CUTRI:   We'll talk about Celltrion.

        21               So here we have just the statute that we're dealing

        22   with, 271(f)(1).     And the point here, of course, there's a

        23   number of things that have to be proven under that statute, a

        24   number of different factors.      This is really about supply.

        25   This is a statute about supply and causation of supply.           That's
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         1   really the key thing to keep in mind here is what this all

         2   boils down to, in our view.

         3             What Janssen is doing in this case is trying to

         4   squeeze essentially a purchaser of an end product -- not the

         5   purchaser of the components, to be clear -- the purchaser of

         6   the end product, which is here Celltrion that we're talking

         7   about, into this framework by saying that they're supplying --

         8   really what they're saying is causing to be supplied the

         9   components, even though all what's really happening here is

12:32   10   Celltrion is an end purchaser of the final totally assembled,

        11   totally done product.

        12             THE COURT:    Well, I denied the motion for summary

        13   judgment on inducement, right?      I did that.

        14             MS. CUTRI:    Mm-hmm.

        15             THE COURT:    Correct?

        16             MS. CUTRI:    That's right.

        17             THE COURT:    So it seems to me plausible that if they

        18   induced the alleged infringement, they -- is there a difference

        19   between inducement and causation?

12:33   20             MS. CUTRI:    I think there is a difference here because

        21   of the framework that we're under which is about this

        22   supplying.   It's about this taking these components, multiple

        23   different things, and causing them to come from the United

        24   States, causing a specific thing here.       It's a more specific

        25   thing, and it is a separate statute, it is a separate section
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         1   of the statute, so it does have to be treated differently.

         2               THE COURT:    A separate section of the statute.      I

         3   don't know that it has to be treated differently.         Usually the

         4   statutes are read together.      I mean previsions of the statute

         5   are read together.       But go ahead.

         6               MS. CUTRI:    So 271(f) mentions active inducement, in

         7   such a manner to actively induce the combination.         So there is

         8   a component of this that is active inducement.         That would be

         9   Janssen's burden to prove at trial.       All of these areas include

12:34   10   the active inducement.      But it's beyond that.     It's not just

        11   that it can't just be that because there's all this other

        12   language here --

        13               THE COURT:    Don't talk so fast.

        14               MS. CUTRI:    Apologies.

        15               THE COURT:    The court reporter -- I know you've been

        16   waiting two years to say something, but the court reporter has

        17   got to write it down, and I've got to be able to follow.

        18               MS. CUTRI:    That's fair; I appreciate that.

        19               There's other language here.    It's not just

12:34   20   inducement.    There is active inducement; it's more than that.

        21   271(f) goes beyond that.      There are requirements beyond just

        22   inducing.

        23               This is just to demonstrate what's really happening

        24   here, as kind of a reminder of lay of the land and the cycle

        25   here or the steps that are happening, which are important,
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         1   right.

         2              We have HyClone affiliate or GE Healthcare affiliate

         3   in Singapore -- I'm sorry, in the United States, now also there

         4   is someone in Singapore, but this is relative to the claims

         5   here.    In the United States -- and they are alleged to,

         6   according to Janssen -- and that's the facts not fully in the

         7   case at this point.     But according to Janssen, there was some

         8   period of time when they were taking at least some components

         9   of this media and shipping them to Singapore.

12:35   10              Yet, another third party, not in the case, foreign, a

        11   foreign affiliate of GE HyClone, is assembling them, putting

        12   these components together in Singapore to make the accused

        13   product.    That's the accused product that we're seeing in

        14   Singapore there.

        15              Now where Celltrion comes in is after all this

        16   happens.    After this is said and done, Celltrion orders, of

        17   course, as we know, the accused media powder.         Celltrion takes

        18   that powder, as you see here on the bottom right, a number of

        19   steps that they do using the media.       They combine the media

12:35   20   with water and other ingredients; they, of course, grow the

        21   cells; they then -- the cells produce the antibody; they

        22   harvest the antibody; a number of other steps, filtration,

        23   purification, whatnot; the antibodies eventually combined with

        24   various other things; and then becomes the final end product.

        25              As we know, this is where Hospira comes in.        So
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         1   Hospira is not on this graphic here, of course.         They don't

         2   even come into the picture anywhere in this pathway here at

         3   all.     They don't even come in until we have the complete

         4   finished Inflectra product.

         5               So this is -- anyway, the point here is Celltrion, all

         6   they're doing is buying.     They're buying the finished product

         7   after the components have come from the U.S., after they've

         8   been assembled abroad.     And of course, they're bought by

         9   Celltrion from foreign companies.       All of this is happening

12:36   10   overseas.

        11               So let's talk about what 271(f) did.      So -- and this

        12   is in our brief; this is discussed.       There was a time when you

        13   could avoid infringement, 271(a)-type infringement, making,

        14   selling, using, et cetera, by keeping your components separate,

        15   either a U.S. domestic manufacturer, rather than just making my

        16   stuff here in the United States, making this patented device,

        17   I'm just going to send it abroad and we'll put it together over

        18   there.    And that's essentially -- that's exactly what happened

        19   in Deepsouth.    This is Microsoft -- this is the Supreme Court

12:37   20   talking about the Deepsouth case, which is done in a nice way;

        21   it kind of puts it in context and explains what happened.

        22               Deepsouth had done exactly that.     They had been found

        23   to infringe, making these shrimp deveiners in the United

        24   States.    And then they said, I know, we have a great idea,

        25   we'll just send the components abroad, then we won't infringe.
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         1   And the court said at the time, you're right, that doesn't

         2   infringe, that's right.

         3              So there was this loophole.     There was this problem.

         4   We had a U.S. manufacturer shipping its own components abroad

         5   to have them assembled abroad.      That's what 271 was designed to

         6   address.

         7              So this was about exporting.     This was about closing

         8   an export-related loophole in the patent statute.         And this is

         9   again -- this is a Federal Circuit case, WesternGeco, talking

12:37   10   again about Deepsouth and talking about 271(f).

        11              In response, this is in response to Deepsouth,

        12   Congress enacted 271(f), overruled Deepsouth, and imposed

        13   liability on domestic entities shipping components abroad, with

        14   the requisite intent, of course, that's important, there's an

        15   intent component here, essentially just as if they had done it

        16   in the United States.     This is about manufacturers of exported

        17   components.     And that's critical.    That's important, because

        18   that is what 271 reaches.

        19              This is more from WesternGeco.      There's more language

12:38   20   in this case talking about what 271(f) did.        It is the act of

        21   exporting.     That's what we have underlined here.      I think

        22   that's the really important thing to consider here.         It is the

        23   act of exporting that creates the liability, that's it.

        24              THE COURT:   Well, that's what creates the liability

        25   for HyClone.    The question is whether Celltrion caused it.
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         1             MS. CUTRI:    Right.   I think, though, the act of

         2   exporting has to create the liability for anybody.         There has

         3   to either be -- what we've seen from the cases is either you

         4   are the exporter, or there's the WesternGeco District Court

         5   case is the one case we know of where it was found that

         6   somebody was doing the exporting on someone else's behalf, for

         7   them, for them, right.     So -- and I think the term actually --

         8   and we have it on the slide -- is "freight forwarder."            It was

         9   a shipping agent.

12:39   10             So the defendant, who actually ended up not making it

        11   up to the Federal Circuit in that case, this wasn't addressed

        12   on appeal, but that defendant said, Okay, I was going to just

        13   gather up these components and ship them myself, but I'm going

        14   to have someone do it for me, either like a UPS or a FedEx-type

        15   or a shipping agent.

        16             So the defendant in this case, Fugro I think was the

        17   name of that defendant, was actually -- it was like having

        18   someone else do the shipping and exporting on their own behalf

        19   to themselves, their own shipping.

12:39   20             That's not what's happening here, right.        So that's a

        21   very important distinction if Celltrion is not having anyone

        22   ship anything to it on its behalf or on its behest.         They're

        23   not telling anybody, Hey, can you please ship me this and that?

        24             THE COURT:    How do I know that?     I'm looking at the

        25   complaint.   This is a motion for summary judgment.        The
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         1   question is whether they made a plausible claim that Celltrion

         2   caused HyClone to ship the components.       I've previously

         3   denied -- found that there was sufficient evidence for a jury

         4   to conclude that Celltrion had induced infringement, and that

         5   was on summary judgment.     But why is it implausible that if

         6   there was a violation of 271(f) by HyClone, that Celltrion

         7   caused it?   In other words, caused HyClone to do what allegedly

         8   violates 271(f)?

         9             MS. CUTRI:    Well, Janssen doesn't plead that they're

12:41   10   having anything exported, that Celltrion is having anything

        11   exported on its -- that it's doing the exporting or having it

        12   done on its behalf.

        13             THE COURT:    No, I thought they were alleging that

        14   Celltrion caused HyClone to make the exports.

        15             MS. CUTRI:    They do allege that.     They do allege that.

        16   But I say the way they say that is because they buy it, they

        17   buy the ultimate end product.

        18             THE COURT:    But why --

        19             MS. CUTRI:    It's like this chain of causation type

12:41   20   theory where just because we buy something, we, Celltrion, are

        21   overseas in Korea, we call up, you know, the HyClone affiliate

        22   in Singapore, we buy the end product, and therefore, we're

        23   causing, somehow causing you to get the supplies from some

        24   place that actually -- and Janssen doesn't plead this -- it's

        25   not within their control, they're not directing them where to
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         1   get them from.    They're not telling them -- so all they're

         2   doing is buying.    That's what they plead.      You're buying,

         3   therefore, as a foreign buyer of a foreign-made product, you

         4   are somehow causing what the statute is supposed to get at

         5   which is the export activity.      That's what they plead.

         6             They also plead, of course, they do mention that they

         7   have this agency theory, they have an agency theory of

         8   infringement.    That's different than what these cases talk

         9   about, or at least the WesternGeco case talks about.          A

12:42   10   shipping agent picks up the materials on your behalf and gives

        11   them to you on your behalf.      That's not what's happening here.

        12             THE COURT:    Why is it implausible that HyClone's the

        13   agent or that HyClone has caused --

        14             MS. CUTRI:    It's not -- the problem is, that's not

        15   what they're alleging.     That's not even what they're pleading.

        16   They're not even saying that HyClone is doing the exporting act

        17   for Celltrion, that Celltrion is essentially the exporter

        18   because HyClone is doing it for them.       They plead there's this

        19   agency relationship with development of the media.         We're

12:42   20   familiar with that, we've argued that, we heard a lot about

        21   that over a year ago.     Generally years ago we went back and

        22   forth they say about, you told us to add this or that and

        23   that's their theory on that.      But that's different than the

        24   only case they have that acknowledges this possibility of this

        25   kind of agency-type concept is this WesternGeco District Court
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         1   case.    It's a different thing.    That's not what they're

         2   pleading here.    They're not pleading that, Celltrion, you are

         3   essentially the exporter; you're having someone do it on your

         4   behalf.    That's not what they plead.      And that's the only thing

         5   that there's any daylight in the law to recognize as of right

         6   now.

         7               THE COURT:   As of right now.    Causation is not -- not

         8   an unfamiliar term in the law generally.        But anyway, go ahead.

         9               MS. CUTRI:   Well, right.   We have to think not just

12:43   10   generally about the law or the common law, we have to think

        11   about 271(f).    We have to think about what the statute is

        12   about.     We have to think about the fact that this closed a

        13   specific loophole in the patent laws, and we'll get to this

        14   point, too.     271(f) was designed to be this very narrow

        15   exception to the very well rounded principles about

        16   territoriality of the patent law.       And we're not at liberty to

        17   take this exception and expand it further.        The exception has

        18   to be very limited and the Supreme Court has said that.

        19               There are a number of cases that talk about this

12:44   20   being -- and these are all in our briefs, there are a number of

        21   cases that talk about export, right.        The focus here is on the

        22   export activity, and that's exactly what we just saw in

        23   WesternGeco.    The Supreme Court has said this, exporters'

        24   conduct.    The Federal Circuit as this, export of elements.

        25   This circuit has said this, exporting.       Section 271(f) prevents
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         1   companies from circumventing the U.S. patent laws by exporting

         2   noninfringing components to be assembled abroad, that's what

         3   we're trying to reach.     That's not what's happening here.

         4             Janssen, if they want to go back to their case against

         5   HyClone, which is stayed right now, they have that case

         6   pending, they've put it on hold, they don't want to bother with

         7   that case.   If they want to go back to say, HyClone, you're

         8   doing exporting here, that's totally different.         It may be true

         9   that HyClone is sending stuff from the United States abroad.

12:45   10   We don't have all the facts.      They're not in the case.        That's

        11   not why we're here today.      There may be an exporter of

        12   material, it's not Celltrion.      It may be Hospira, it's

        13   certainly not Celltrion.

        14             THE COURT:    I think you're missing what I regard as

        15   the point.   Did you cause -- I have to look at these

        16   allegations in the context of all the allegations in the case.

        17   The allegations are that HyClone's media infringes the '083

        18   patent, that there's sufficient evidence for a reasonable jury

        19   to find that Celltrion induced that infringement.         A reasonable

12:45   20   inference would be that this was moved to Singapore to avoid

        21   having to pay damages for infringement on the product sold in

        22   the United States, and for a long time we were all operating

        23   under the assumption that once the Singapore media was used,

        24   Celltrion's exposure to damages would end, but now Janssen

        25   argues that there's a violation of 271(f)(1) occurring, and
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         1   that Celltrion caused it.

         2              In view of the fact that it's already -- there's

         3   already sufficient evidence -- I don't even know if I can take

         4   this into account -- but why is it implausible that if there

         5   was induced -- there was -- put it back in the motion to

         6   dismiss.   There was alleged induced infringement in the United

         7   States, and then an obvious motive to avoid -- minimize

         8   damages, go to Singapore.      But why is it implausible that these

         9   parties collaborated on infringement -- I have to accept this

12:47   10   is true for the purposes of the motion to dismiss -- they'd

        11   also collaborate in some scheme to continue infringing but mask

        12   it by doing it abroad?     Why is that implausible.

        13              MS. CUTRI:   It's implausible because it's not a real

        14   theory under the law.

        15              THE COURT:   It's a factual issue, the statute creates

        16   the law, of course it is.      The statute says that in certain

        17   instances, somebody who doesn't export itself, some entity that

        18   doesn't export itself is legally liable for infringement if it

        19   caused the exporter to do it.

12:47   20              Are there any cases that you'd point me to that

        21   discuss what causation means in this context?

        22              MS. CUTRI:   So there are.    There are actually some

        23   cases that Janssen tried to point to and to say that they

        24   support that principle, and they don't.        The WesternGeco

        25   District Court is one of them.      This is, actually, kind of my
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         1   next point.

         2             Janssen has no case, they have nothing finding that

         3   there's 271(f) liability where a foreign company simply

         4   purchases a foreign-made product.       And the word "causation"

         5   here, they're just trying to wedge in buyer liability.            There

         6   is no buyer liability under the patent laws.        There has to be

         7   more than that, right.     There has to be more.      There has to be

         8   more.   There is no buyer liability.      If you look at 271(a),

         9   it's make, use, sell, offer, import, right.        The only way to

12:48   10   get liability to get at a buyer would be at one of these

        11   theories like 271(b) that they're trying to use.         It's like

        12   another form of buyer liability, but there's all these

        13   heightened requirements they have to prove: the intent, the

        14   knowledge, and whatnot.     271(f) is not about buyer liability.

        15   And Congress had the opportunity to do that.        It could have

        16   created liability against the buyer but just didn't do that

        17   here.   It's about supplier causing the actual supply and not

        18   just generically causing something to be made because you're

        19   purchasing it.    That's really the most that could be said about

12:49   20   Celltrion maybe, is that when we order it, we make it.            But

        21   it's a whole other step removed to say where you're getting it

        22   from or you're supplying it from the United States.

        23             The WesternGeco one we talked about.        Oh, no, this was

        24   an agency case.    This was you did it, you did it.       We didn't do

        25   it, someone else did it, therefore, you were causing the supply
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         1   because someone else was actually doing it.        But, like I said,

         2   if you look at the language in that case --

         3               THE COURT:   Don't talk so fast.    Although, you are

         4   going to have to stop at 1:00 on this plausibility, so figure

         5   out what you want to argue; maybe it's not everything in your

         6   slide.

         7               MS. CUTRI:   Sure.   I think the WesternGeco case we've

         8   talked about.     Your Honor should look at the language in that

         9   case.    I would encourage you to do that and to look at the

12:49   10   District Court there said constituted causing freight order,

        11   the goods were sent to Fugro.       They're having someone do it for

        12   them.    That did cut it.   That was enough in that case; that cut

        13   it.     That's not what happened here.

        14               They also point to this Jacobs Vehicle Sys. case; also

        15   not the same situation.     This was domestic companies,

        16   subsidiary and its parent.       On summary judgment there was

        17   enough, and the court said, Well, okay, the parent, we're going

        18   to say the parent did enough here encouraging and kind of

        19   paying for things, financial support, to cause the sale or the

12:50   20   supply of components outside the U.S.       That's not what we have

        21   here either.    That's just not the situation.      We don't have a

        22   parent/sub situation here; we don't have domestic companies

        23   either.

        24               The last case I point to is this T.D. Williamson case,

        25   another District Court case.       This is inapposite.    It's very
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         1   broad.     They just cite this case for the general proposition

         2   that 271(f)(1) reaches not just supply, but caused to be

         3   supplied.    We already know that, that's right, that's in the

         4   statute.     But this case dealt with whether or not you have to

         5   have a third party that's actually doing the combining, and

         6   said, no, you don't.     You can essentially introduce yourself

         7   once you get the stuff abroad.      This case is, frankly,

         8   inapposite; it's just not on point.

         9               So Janssen doesn't have anything that's recognized

12:51   10   this situation: A foreign buyer buying the final foreign made

        11   end product is somehow responsible, not for the making of that

        12   product, but for the supply of the components.         Someone else is

        13   getting them, someone else is getting them for themselves.          Not

        14   Celltrion here.

        15               This is important, okay.    This is the Supreme Court in

        16   Microsoft talking about this very statute.        And the court said

        17   right up at the start, "Recognizing that 271(f) is an exception

        18   to the general rule that our patent law does not apply

        19   extraterritoriality, we resist giving the language in which

12:51   20   Congress cast 271(f) an expansive interpretation."         Right.

        21   "Our decision leaves to Congress' informed judgment any

        22   adjustment of 271(f) if it deems it necessary or proper."

        23               THE COURT:   What were the facts in Microsoft?

        24               MS. CUTRI:   The facts are a little bit different in

        25   Microsoft.    Essentially, Microsoft was making what it called
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         1   these master copies of software here in the United States, and

         2   it was sending these master copies abroad where they were

         3   purchased by buyers and copied, copies were made oversees.

         4   Copies of the software were then installed on computers

         5   overseas, and that's what was alleged to infringe.         Once you

         6   put the software on the computer, then it does what the patent

         7   claims.   The patent was an apparatus claim, I believe.            But it

         8   took software on a machine and that had to happen overseas.

         9             THE COURT:    Because something vital was not exported:

12:52   10   the computer.    I think that was the essence -- I thought that

        11   was the essence of Microsoft.      But go ahead.

        12             MS. CUTRI:    I think the essence of that case was the

        13   Supreme Court said, No, we're cabining 271(f).

        14             THE COURT:    So let me see -- what -- would this be a

        15   violation, in your view, of 271(f)(1), I think it is:             Let's

        16   say Celltrion induced HyClone to infringe the '083 patent.

        17   Then this case was threatened abroad, and Celltrion said to

        18   HyClone, This could be very expensive if we lose this case.               We

        19   want to limit our risk.     So there are four components that have

12:53   20   to be mixed together to make the HyClone media, we want you to

        21   ship $4 million worth of those components to Singapore and then

        22   mix them together in Singapore and not in the United States.

        23   Would that violate 271(f)?

        24             MS. CUTRI:    No, I don't think it would.      Because in

        25   that case, still it's HyClone doing the exporting.         Celltrion
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         1   is not doing the exporting, and they're not causing the

         2   exporting.

         3               THE COURT:   I don't think I need to hear much more on

         4   this.

         5               You've got five more minutes on plausibility.

         6               MS. CUTRI:   Okay.

         7               So Microsoft also tells us this is an important

         8   guiding principle at 271(f).        That where there's presumption

         9   against extraterritoriality.        That's where we have to default

12:54   10   to.     If there's any question about whether we can expand 271(f)

        11   and use it to kind of reach conduct outside of the United

        12   States, which is precisely what Janssen is doing here, trying

        13   to reach outside the U.S. to get at entirely extraterritorial

        14   conduct, any doubt it's a no.        Because the presumption against

        15   extraterritoriality tells us we can't reach that, and that's

        16   solely the province of foreign law with foreign patent laws

        17   that you're left with if that's what you're trying to do.

        18               THE COURT:   But Microsoft doesn't focus on causation,

        19   does it, the meaning of causation?

12:55   20               MS. CUTRI:   No.     It more focuses on this

        21   extraterritoriality concept and the concept that you cannot

        22   use -- they talk about the springboard.        What's happening in

        23   the United States cannot be used a springboard to reach for

        24   liability to reach extraterritorial conduct.

        25               This is the slide.
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         1             And like I said, the facts here were different.         It

         2   was the copy, the master software and the copies.         But

         3   basically the goal here, the patent he was trying to say I

         4   should be able to reach these totally extraterritorial acts

         5   because there's something happening in the U.S., there's

         6   something happening here.      And the Supreme Court said no.     You

         7   cannot use what happens here as a springboard for liability

         8   every time these other subsequent, totally foreign things are

         9   happening.    Foreign law alone, not U.S. law, is what governs

12:55   10   that.

        11             The rest of the slides I have relate to Hospira more

        12   specifically.

        13             THE COURT:     All right.   I don't want to see anything

        14   on Hospira.

        15             In fact, who's going to argue this motion for Janssen?

        16             MR. DISKANT:    I will, your Honor.

        17             THE COURT:     What's the -- you don't have to make the

        18   whole argument.    What's your essence of your argument on

        19   plausibility and causation?

12:56   20             MR. DISKANT:    The essence is the facts are

        21   overwhelming.     I'm going to present them to you.

        22             We have evidence from 2012 -- your Honor found -- you

        23   may have forgotten this.     Besides finding the evidence was

        24   sufficient to support inducement, your Honor found we could

        25   allege and attempt to prove to the jury that Celltrion
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         1   controlled HyClone, that HyClone was Celltrion's agent making

         2   Celltrion directly liable for HyClone's --

         3               THE COURT:     I found that on the motion for summary

         4   judgment.

         5               MR. DISKANT:    Yes, you did, your Honor.

         6               So we have an agency theory that your Honor has

         7   already upheld on the evidence against a motion for summary

         8   judgment; and in addition, an inducement theory your Honor's

         9   also upheld on the motion for summary judgment.         So there's

12:56   10   just nothing to this.

        11               But I'd like to show you some of the facts.

        12               THE COURT:     Well, you will after lunch, but what's the

        13   meaning of causation?

        14               MR. DISKANT:    I think it's got an ordinary meaning;

        15   you cause something to happen.       I don't think it's a tricky

        16   word.   It's something juries find every day in all kinds of

        17   fact patterns.

        18               Where you have -- on our facts, you have Celltrion

        19   directing its agent, interacting with its agent, approving its

12:57   20   agent's efforts to avoid infringement.

        21               Here's a non-privileged e-mail from Celltrion

        22   internally.

        23

        24

        25               I mean, that's what's going on.     And I think they
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         1   moved as quickly as they could.        I think, finally, they have

         2   stopped causing the goods to be shipped ex-U.S., because that's

         3   the only way ultimately to defeat infringement, but there are a

         4   lot of constraints that tied them up.        And --

         5              THE COURT:     Okay.    It's now 1:00.   You should come

         6   back at 2:15.

         7              MR. DISKANT:    Thank you, Judge.

         8              THE COURT:     Court is in recess.

         9              THE CLERK:     All rise for the Honorable Court.

02:02   10              (Lunch recess taken.)

        11              THE CLERK:     Court is back in session.     You may be

        12   seated.

        13              THE COURT:     Mr. Diskant, you can speak briefly to the

        14   issue of plausibility.      Again, the allegations in the

        15   complaint, at the moment I'm satisfied they state a plausible

        16   claim.

        17              MR. DISKANT:    Your Honor, if I may, I would like to do

        18   that.    I can literally in the same breath address why there's

        19   no more discovery needed.         Does that make sense to combine the

02:23   20   two?

        21              THE COURT:     Well --

        22              MR. DISKANT:    It's the same presentation.

        23              THE COURT:     That's fine.    We're going to have to at

        24   some point address whether you had a right to add this in the

        25   counterclaim rather than it's an amendment subject to the Foman
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         1   standards, but go ahead.       Thank you.

         2               Actually, I'll tell you another question I have so you

         3   can address it.

         4               When you say "no additional discovery," does that mean

         5   no discovery after today, or does it mean no discovery that you

         6   wouldn't otherwise be doing on the --

         7               MR. DISKANT:    It means the latter.

         8               THE COURT:     It means the latter.    That's what I was

         9   afraid of -- no, no, that's what I thought.          That's what I

02:24   10   thought.

        11               MR. DISKANT:    There's not much left.

        12               THE COURT:     Okay.   Go ahead.

        13               MR. DISKANT:    It's all scheduled.    It has to be done,

        14   I think, by February 28 or something like that.          So there's

        15   hardly any left, but there is little bits and pieces left.

        16               So let me hand this out.

        17               (Pause.)

        18               THE COURT:     This will be Exhibit 3.

        19               (Exhibit 3 marked for identification.)

02:25   20               (Discussion off the record.)

        21               MR. HALES:     Your Honor, could I raise one housekeeping

        22   issue?     This is really short.     It relates to something that

        23   Mr. Diskant and I just spoke about.

        24               While Mr. Diskant was making his piece, he read into

        25   the record and excerpt or something out of a document that he
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         1   said was a Celltrion document and he said that was not

         2   privileged.

         3             We actually recently had a privilege clawback, your

         4   Honor; and the thing that Mr. Diskant read is very much like

         5   the type of things that we clawed back.        It's a document in

         6   Korean.   So some things, you know, they're Korean, they didn't

         7   get caught properly.

         8             We've sent them a clawback letter.       I don't know if

         9   this one was on it, but it's very similar to things that I know

02:26   10   we clawed back.    So I raised that with Mr. Diskant and said

        11   until I can actually investigate this document, it's one that

        12   we would claw back.     We're in this awkward position now that

        13   it's something that was read into the record.         So I wanted to

        14   raise it promptly with your Honor.

        15             THE COURT:    What do you propose?

        16             MR. HALES:    My proposal is that I've told them that we

        17   want to claw that back, so under the protective order, they've

        18   got to return it to us, or cordon it off, so we can do

        19   the investigation that is done on these things.

02:26   20             THE COURT:    Do you want a redaction of the transcript?

        21             MR. HALES:    Yes.   It's one line that we could identify

        22   that would be redacted.

        23             THE COURT:    I directed that you order my decision on

        24   the motion to compel on an expedited basis.        This sentence is

        25   not in that part of the transcript, correct?
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         1               MR. HALES:     That's correct.

         2               THE COURT:     All right.

         3               MR. HALES:     It was just before the break, lunch break.

         4               THE COURT:     That's fine.

         5               When the transcript -- the rest of this is prepared,

         6   because, although it's unnecessary, I'm sure -- I'm directing

         7   that you order the complete transcript of today's proceedings,

         8   but I'm directing the court reporter to give it to me and to

         9   you but not to docket it until you have a week to make the

02:27   10   necessary redaction.

        11               MR. HALES:     I appreciate that, your Honor.

        12               THE COURT:     Okay.

        13               MR. DISKANT:    And let me just say, Judge, the document

        14   I read from, which I've provided to them, is a document between

        15   two scientists at South Carolina -- do you mind if I hand it

        16   up?   It's going to be before the judge --

        17               MR. HALES:     I think the procedure that is spelled out

        18   is if I claw it back, that we make a log and we deal with it

        19   that way.

02:27   20               THE COURT:     Excuse me.     Can you give me the protective

        21   order?    It's in the file I had this morning.

        22               MR. HALES:     This is something -- what I've asked is

        23   that we have a chance -- it's in Korean, and it's an Excel

        24   file --

        25               THE COURT:     Is this document really material to your
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         1   argument?

         2               MR. DISKANT:    No.   I just wanted to explain why I used

         3   it.

         4               THE COURT:     No, you don't need to.   It's not an

         5   efficient use of time.       It illustrates part of the reason I

         6   don't want to get in the middle of trial and be talking about

         7   Biogen's documents as well as your documents.

         8               Go ahead.

         9               MR. DISKANT:    That's fine, Judge.

02:28   10               I'll only say that they have been very aggressive in

        11   claiming privilege over things that I doubt are privileged, and

        12   probably this will all be before you soon enough.

        13               In any event --

        14               THE COURT:     Probably too soon.   Go ahead.

        15               But that's the other thing, I'll reiterate it, if

        16   you've got disputes like this, I'm not going to go line by

        17   line.   I don't think that's reasonable.        And you need this

        18   admonition less than many lawyers and litigants, but you each

        19   want to be very comfortable that your position is going to

02:29   20   prevail as the most reasonable.

        21               Go ahead.

        22               MR. DISKANT:    Let me just walk through first where

        23   this claim came from.       And if I can go back, because there's

        24   been some suggestion that we should have brought it earlier, I

        25   just want to walk through very quickly where this came from.
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         1             So in October, back -- the first trial we subpoenaed

         2   HyClone for documents.     They fought us.     We had to go to the

         3   magistrate judge.    Meanwhile, fact discovery ended in the first

         4   trial -- in the liability phase.       The district judge overruled

         5   our objections, compelled production in August.         Meanwhile,

         6   expert reports were due in the liability phase, rebuttal

         7   reports were due, reply reports were due.        Finally, in this

         8   period of a month in October, HyClone produced 44,000 pages of

         9   e-mails, and then --

02:29   10             THE COURT:     In liability --

        11             MR. DISKANT:    On liability.

        12             THE COURT:     -- discovery, fact discovery closed July

        13   2016.

        14             MR. DISKANT:    That's right.

        15             THE COURT:     And you got these documents, more than

        16   44,000, in about October 2016, and your counterclaim is based

        17   on three e-mails that were in the 44,000 documents.

        18             MR. DISKANT:    That's correct, Judge.

        19             THE COURT:     Okay.

02:30   20             MR. DISKANT:    At the time, we were focused entirely on

        21   whether moving to Singapore was -- was or was not going to be

        22   used as an admission of liability, it could be used on

        23   inducement; we argued all those things.        We were not focused on

        24   what turned out to be this issue.       And indeed, in that time

        25   period -- throughout that time period, the defendants were
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         1   saying again and again and again that the Singapore media was

         2   not infringing.    They served an expert report that said that.

         3   Mr. Hurst said that in court.      They made a motion that was

         4   based upon that, and they've argued it.

         5             So throughout that entire period, we essentially

         6   accepted as true the thought that by moving to Singapore they

         7   would escape infringement.

         8             So then we discovered the infringement as follows:

         9   This -- for the first time, damages were consolidated with

02:31   10   liability after we filed the 2017 action.        They moved to

        11   dismiss it.   Your Honor, nonetheless, set a deadline for

        12   exchanging damages discovery requests; and on August 14 of last

        13   summer, they asserted that Singapore was a noninfringing

        14   alternative, possible noninfringing alternatives include the

        15   media composition Celltrion currently purchases from GE

        16   HyClone's Singapore facility.

        17             So it became squarely part of the damages case.          And

        18   if it's not infringing, then it may be an alternative; but if

        19   it is infringing, then it's not an alternative.

02:32   20             So your Honor denied their motion to dismiss.           And on

        21   November 6, 2017, my very smart colleague, Andrew Cohen,

        22   reviewing these documents with great care, discovered these

        23   three documents that showed that HyClone was actually shipping

        24   all of the components of the Celltrion media --

        25             THE COURT:    Excuse me just this moment.
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         1             (Discussion off the record.)

         2             THE COURT:     Go ahead.

         3             MR. DISKANT:    Mr. Cohen discovered these three

         4   documents that showed that HyClone was shipping the components

         5   of the Celltrion media to Singapore to be combined there.         And

         6   I'll just show quickly those three e-mails.

         7             There's one from 2015.      It's shipped from Logan's

         8   existing inventory.     Information shared with Celltrion in 2015.

         9             Here's another one.     The components are currently

02:33   10   arriving in Logan and shipped to Singapore, raw materials.

        11             The meeting that Celltrion attended, Celltrion

        12   attendees, three of them.

        13             And one more e-mail in this collection.        We ordered

        14   the components specifically to be sent to Singapore in case

        15   Celltrion orders them from Singapore.

        16             So basically these three e-mails led to us say, Whoa,

        17   there's a 271(f)(1) violation.

        18             Meanwhile, the defendants filed their answer and

        19   counterclaims against us, which asserted, among other things,

02:33   20   that they do not infringe the patent, period.         Not they don't

        21   infringe 271(f)(1), (2), (3); they don't infringe.

        22             And we sought more discovery from HyClone.         We advised

        23   the defendants that we had identified this 271(f)(1) issue, and

        24   we filed our counterclaim.

        25             So that is the factual story where this came from.
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         1             THE COURT:     And actually -- I don't think you have

         2   it -- you file -- your counterclaim under the Federal Rules of

         3   Civil Procedure is your counterclaim reply was due 21 days

         4   after the counterclaim was filed.       The parties reached

         5   agreement to give you another two days.        I think within those

         6   21 days you could have amended your complaint as a right, too,

         7   under the rules.

         8             MR. DISKANT:    I think we could have.      But, anyway,

         9   this is what we did.

02:35   10             And of course, we've looked at the statute; your

        11   Honor's familiar with it.      Causes to be supplied from the

        12   United States all or substantial portion of the components of a

        13   patented invention, where they're uncombined in such a manner

        14   as to actively induce their combination outside the U.S. in a

        15   manner that would infringe the patent if it occurred in the

        16   U.S.   It's like a precise actual description of what we alleged

        17   was happening.    We did allege that, and our allegations were

        18   both direct and induced, and were relying on your Honor's

        19   rulings on the summary judgment motion.

02:35   20             By directing and controlling its agent, HyClone,

        21   supply from the United States at least a substantial portion of

        22   the components of the infringing media, Celltrion infringes.

        23             And likewise, by causing HyClone to do it, to supply

        24   the components, Celltrion has actively induced and continues to

        25   actively induce the combination of the components outside the
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         1   U.S.

         2             THE COURT:     And I believe in paragraph 34 you alleged

         3   that HyClone was acting as Celltrion's agent.

         4             MR. DISKANT:    That's correct.

         5             And 36 makes reference to directing and controlling

         6   its agent, HyClone.

         7             And to remind your Honor of your ruling on summary

         8   judgment -- could we go to 43, please?

         9             You made two rulings on summary judgment.        In one, I

02:36   10   find there is a genuine issue of material fact as to whether

        11   HyClone acted as Celltrion's agent in manufacturing the media

        12   for infliximab.

        13             And secondly, there's evidence of defendants'

        14   subjective intent, Celltrion's subjective intent to induce

        15   infringement.

        16             THE COURT:     I now realize I didn't issue an order

        17   summarizing this.     It's been drafted for a long time, but I

        18   hope to get it to you soon.

        19             Go ahead.

02:37   20             MR. DISKANT:    In any event, both issues are on the

        21   table; your Honor ruled on them both.

        22             So we can go back to where we were.

        23             We can skip Hospira for the moment.

        24             So we allege HyClone, as Celltrion's agent, is causing

        25   to be shipped overseas, and Celltrion is causing to be shipped
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         1   overseas.    This is not a mere purchaser; this is an actor

         2   principal directing its agent.

         3               THE COURT:     That's the allegation.

         4               MR. DISKANT:    That is the allegation.

         5               THE COURT:     A plausible allegation for the purposes of

         6   Rule 12(b)(6) is -- well, a claim has facial plausibility when

         7   plaintiff pleads content that allows the court to draw the

         8   reasonable inference that defendant is liable for the

         9   misconduct alleged.      That's Iqbal.

02:38   10               I don't think I can take into account in a motion to

        11   dismiss the evidence concerning the motion for summary

        12   judgment, but --

        13               MR. DISKANT:    We did summarize it in the counterclaim,

        14   I believe.

        15               THE COURT:     The evidence.

        16               MR. DISKANT:    Well, let's see --

        17               THE COURT:     I was going to say, why is it a plausible

        18   claim, even putting aside that evidence?

        19               MR. DISKANT:    Well, it's a plausible claim -- I mean,

02:38   20   because the evidence is -- and you can just look at the

        21   complaint.    During 2015 and '16, representatives of Celltrion

        22   and HyClone communicated regularly regarding the possibility of

        23   having HyClone make the Celltrion media at its facility.

        24               You know, during this time, they repeatedly discussed

        25   Celltrion's plans to evaluate, eventually purchase the media
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         1   from the components combined in the facility.

         2             Celltrion received samples, evaluated the media.         They

         3   concluded that the tests in Singapore made an acceptable

         4   substitute.

         5             THE COURT:     Is this the counterclaim you're reading

         6   from?

         7             MR. DISKANT:    Yes.

         8             THE COURT:     I thought you said the complaint.

         9             MR. DISKANT:    I'm sorry.

02:39   10             It does say it's alleged more completely in the

        11   complaint, which I'm sure is incorporated by reference.

        12             THE COURT:     That's okay.

        13             MR. DISKANT:    There's quite a lot of factual detail.

        14             THE COURT:     There is a lot.

        15             MR. DISKANT:    So this all happened.     And, you know, I

        16   do think the motion for summary judgment -- we relied on your

        17   Honor's analysis of the same evidence as part of our plausible

        18   basis for making the allegations.       So I think it certainly

        19   bears at least to that extent.

02:39   20             In any event, we went forward with this; and, you

        21   know, we've taken discovery.       Why have we taken the discovery?

        22   Well, it's part of our counterclaim, but it's also exactly the

        23   same evidence that we need to prove that it is not a

        24   noninfringing alternative.       That's squarely at issue in the

        25   damages case, the exact same issue.
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         1               If it's a noninfringing alternative, then it's a

         2   noninfringing alternative, and we lose our infringement case

         3   and we lose our lost profits, potentially.        And if it is an

         4   infringing alternative, then it infringes and we win, and they

         5   lose their damages defense.       They're mirror images of the same

         6   point.

         7               THE COURT:     Is it your argument that the only

         8   additional work that will need to be done is by the experts in

         9   doing an additional damage calculation?

02:40   10               MR. DISKANT:     Oh, the monetary expert, yes.    The

        11   economic expert has done an additional -- some numbers, which

        12   we provided to them already.

        13               The other experts are providing evidence they would

        14   have provided in any event on the noninfringing alternative

        15   analysis.

        16               We took HyClone's deposition, and they agreed it was

        17   true.

        18               Was there ever a time when all or substantially all of

        19   the raw materials used to manufacture the Celltrion media in

02:41   20   Singapore were shipped from the Logan facility to Singapore?

        21               Yes.

        22               Then, we said:    When did it stop?

        23               2017.

        24               And by matching the 2017 up with other testimony from

        25   the same witness, Brian Douglass, it's April/May 2017.            They
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         1   stopped shipping all of the components to Singapore, and

         2   Singapore starts sourcing on its own.

         3             So what's that timeline look like?       This is slightly

         4   off, but that's okay.

         5             So back in January 2012 is the origins of the

         6   Singapore plant, and the language, which you can't read, but

         7   I'll show you the documents in a moment, I'm just really

         8   walking you through it.

         9             From the beginning, the common source of raw materials

02:42   10   was to be used for both sides.      And our experts have already

        11   explained in their noninfringing alternatives' opinion why that

        12   makes good sense.    There's good quality control, there's less

        13   regulatory hassle and the like.

        14             So the original plan was for Logan to be the source of

        15   the materials for both facilities.

        16             Construction began in 2012, completed in 2013.

        17             December 1, 2014, another HyClone document confirming

        18   all raw components are shipped from Logan to the Singapore

        19   site.

02:42   20             January 2015, Celltrion approved the facility, begins

        21   the approval process.

        22             Another document -- many of these shared and discussed

        23   with Celltrion -- all raw materials, including media

        24   components, are procured and tested through the Logan facility.

        25             October, all raw materials will be supplied from
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         1   Logan,

         2             November, produces its first batch of Celltrion media

         3   using raw materials from Logan.

         4             2016, components currently arriving at Logan, ship to

         5   Singapore.

         6             2017, and now in April/May, they make the switch.

         7             May 1 -- approximated between April and May sometime,

         8   it's the mid-date.    HyClone stops sending most raw materials

         9   from Logan to Singapore.

02:43   10             Now, why does that matter in terms of where we are

        11   today?   It matters because shipping the raw materials is many

        12   months away from a finished product.       First you get the raw

        13   materials, then you make the cell media, then you ship the cell

        14   media to Korea, then they make the -- they make something

        15   called the drug substance, then they make the drug product,

        16   then they ship it to the U.S.      And we've tracked this back with

        17   the documents, and the bottom line is, all Inflectra available

        18   for sale in the United States today was made with infringing

        19   cell media, either from Logan or from Singapore.

02:44   20             So these are the facts that we're going to lay out,

        21   but I show you some of the documents to give you a sense of the

        22   substance of the case.

        23             This is back in the beginning.

        24             Common source of raw materials to be used for both

        25   Logan and Singapore sites.      Celltrion accepted.
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         1             And remember, we're alleging, and your Honor found

         2   substantial evidence to support the allegation --

         3             THE COURT:     This is a motion to dismiss.     And as I

         4   told you, I'm persuaded that Janssen's alleged a plausible

         5   claim.

         6             So I think the next issue logically is whether I have

         7   any discretion to dismiss or strike it, Celltrion's motion.            I

         8   should hear from them.

         9             MR. DISKANT:    That's fine, Judge.

02:45   10             (Pause.)

        11             THE COURT:     So, essentially, the question is

        12   whether -- I think it's agreed, this is -- Janssen's is a

        13   compulsory counterclaim, and the question is whether they had a

        14   right to file it or whether they required leave of court.            And

        15   if they required -- or whether they required leave of court.

        16   We'll take it in small pieces.

        17             MS. CUTRI:     Okay, sure.

        18             I actually have a couple more comments about the

        19   causation issues --

02:46   20             THE COURT:     I don't need to hear.    I'm going to start

        21   behaving like every other judge and say enough is enough.

        22             Go ahead.

        23             MS. CUTRI:     Can we go to slide 40, please?      We're

        24   going to go directly there.

        25             THE COURT:     40?
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         1             MS. CUTRI:    Please, yes.

         2             Thank you.

         3             And I'm actually going to start in the section which

         4   is 41.

         5             THE COURT:    41.

         6             MS. CUTRI:    Right.

         7             THE COURT:    I want you to address the legal issue of

         8   whether this is --

         9             MS. CUTRI:    Sure.

02:47   10             So I think Janssen's position here has been -- and

        11   what they have said, what your Honor had mentioned -- it was

        12   compulsory.   That's what they're saying.       This is compulsory,

        13   so it's just in, that's it, end of story, right.         And our

        14   response to that is, no, that's not right.

        15             We have to look at what's really going on here.

        16   That's the label they've slapped on this and said, Well, look

        17   at the standard for compulsory counterclaim, these four things,

        18   Oh, check, check, check, done, we're in, it's done.         That's it,

        19   and nobody can do anything about it.       Never mind the fact we've

02:47   20   had these documents for 15 months.       Never mind the fact we had

        21   the documents the last time the defendants pled these very same

        22   counterclaims.

        23             THE COURT:    Whether there was undue delay and whether

        24   they have a right to amend are two separate issues.

        25             I don't get to whether there was excusable delay or
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         1   undue delay if they had a right to add the counterclaim.

         2   That's why I mentioned Judge Becker's decision in Southeastern

         3   Industries as an early statement of, it seems to me a correct

         4   statement, of what's now the law.       But that's the issue I want

         5   you to address.

         6               MS. CUTRI:   Right.    And I'll do that.

         7               They don't have the right to add these at this point.

         8   And you know, there are cases kind of on both sides of this

         9   issue of whether or not this exists, okay.        Is there such a

02:49   10   thing as a counterclaim in reply?       Does it exist or not?     A lot

        11   of cases say no.    We have cited a bunch of cases.       This doesn't

        12   exist at all, in fact, you try it, it's gone, it's just

        13   stricken.    It doesn't exist, okay.

        14               THE COURT:   Okay.    What's the best case for that

        15   proposition?

        16               MS. CUTRI:   Well, a number of these on the screen

        17   here.   These are all cases that we cited in the brief.

        18               THE COURT:   I know.   What do you think is the best

        19   one?    The best reasoned one.

02:49   20               MS. CUTRI:   I think the best reasoned one is, because

        21   usually where this happens -- there's a Tenth Circuit case --

        22   let me see if I have it in here, if I can get to it -- a case

        23   talking about this issue within the Tenth Circuit.         I'm not

        24   finding it right now.

        25               THE COURT:   I'm sorry, I can't hear you.
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         1             MS. CUTRI:    I apologize.    I'm trying to find the case

         2   for you, your Honor.

         3             Here, I went past it.

         4             This Turner case, Kansas, 1997.       It's on slide 42,

         5   your Honor.

         6             THE COURT:    Hold on just a second.

         7             MS. CUTRI:    Sure.

         8             (Pause.)

         9             THE COURT:    Hold on just one second.

02:50   10             MS. CUTRI:    Sure, of course.

        11             (Pause.)

        12             THE COURT:    Turner?

        13             MS. CUTRI:    Yes.    It's our slide 42.

        14             And there's a District of Massachusetts case on the

        15   same slide, kind of gets to the same idea.

        16             The principle in your question was why, right, and

        17   why?   The principle is because many times what this is is an

        18   end run around the rules.       That's the reason.    And the reason I

        19   like this Turner case is because it says that.

02:51   20             This court is not convinced that we should adopt this

        21   method of circumventing the limitations of Rule 15.

        22             Because that's exactly what's happening here.            And the

        23   courts have acknowledged this, that a lot of times what's just

        24   happening here is you're sneaking in something late.          It should

        25   have come earlier.     This is part of your original nucleus of
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         1   facts, your original case, it should have come in earlier.         And

         2   now you're using this procedural trick whereby your opponent

         3   pled some claims, and now you're saying, Oh, now, me, too.         And

         4   that's why the courts have said in many instances -- and there

         5   are cases saying this, too, they say sometimes these

         6   counterclaims in reply, this counterclaim to a counterclaim,

         7   sometimes that's okay.

         8             When you look at even the cases they cite that say,

         9   okay, maybe this is a real thing, they still say the better

02:52   10   practice is to treat it as an amendment, because that's really

        11   what's going on.

        12             THE COURT:    What case says that?

        13             MS. CUTRI:    So the ones on 42, on my slide 42 say

        14   that.

        15             The better practice would call for an amendment to the

        16   complaint rather than a counterclaim to a counterclaim.

        17             THE COURT:    Wait a minute.     Okay.   That's Bethlehem.

        18             MS. CUTRI:    Mm-hmm.

        19             THE COURT:    Hold on a second.

02:52   20             The 1940 case.

        21             MS. CUTRI:    Mm-hmm.

        22             THE COURT:    Even older than Judge Becker's.

        23             MS. CUTRI:    We have cases going all the way up -- I

        24   think the most recent we have on our slides is 2015.          It's an

        25   old principle, but it's a new principle, and one that's still
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         1   valid here, too.

         2             And I liked the Turner case, even though it's a

         3   different district here, because it really nicely captures in

         4   this principle about circumvention.        Hey, you're trying to get

         5   around the rules here by sneaking something in that you should

         6   have pled earlier and you could have plead earlier, it relates

         7   to your claims.     And this court, the District of Kansas, said

         8   the very same thing.     The better thing here to is to treat this

         9   as a motion for leave to amend.       For present purposes, that's

02:53   10   what we're going to do.      Plaintiffs' counterclaim in reply,

        11   exactly what we're dealing with here, plaintiffs' counterclaim

        12   in reply shall be construed as such on a motion to amend.

        13             That's precisely what this Court should do.         I think

        14   your Honor mentioned that last time we were here, maybe this

        15   ought to be treated as an amendment; we think that's exactly

        16   right.

        17             THE COURT:    At that time I hadn't read the cases.

        18             MS. CUTRI:    Well, the cases we have on our next slide

        19   talk about this -- well, first of all, there are number of

02:53   20   cases that say you can't do this at all, and it's gone.            We

        21   have a list of cases there.      But we don't even need you to say

        22   that here.    We're happy with, Judge, you need to look at the

        23   motion-to-amend rubric, and we need to be looking at either

        24   Rule 15 or Rule 16 here.      And let's talk about why.

        25             I want to talk about your question about compulsory
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         1   and the compulsory nature here, because I think that's

         2   important.

         3             They're saying it's compulsory, and that's it.           We had

         4   to do it; we had no choice.      That's not right.     They're saying

         5   it's compulsory in response to our counterclaims.

         6             The only reason they can try and go through and check

         7   the boxes for compulsory counterclaim in response to our

         8   counterclaims is because our counterclaims were compulsory to

         9   their counterclaim, same nucleus of facts.         They're saying, Oh,

02:54   10   this all arises out of what you pled.        No, no, no, that's

        11   because what we pled arose out of what you pled, right.

        12             You know what else checks all the boxes?         Your most

        13   recent claim, your, quote, counterclaim to counterclaim, checks

        14   all these same boxes with respect to what you pled in your

        15   complaint.    This should have been part of your complaint.

        16             It's a procedural trick.      It's smoke and mirrors is

        17   what it is.    It's just a label they're putting on it.        It's not

        18   really looking at what's going on.

        19             THE COURT:    But I pointed out -- and I'll have to go

02:55   20   back and -- I can go back.

        21             I believe they could have amended as a right within 21

        22   days of your counterclaim.

        23             (Discussion off the record.)

        24             THE COURT:    So this Rule 15.     Amending as a matter of

        25   course.   Party may amend its pleading once as matter of course
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         1   within 21 days after serving it --

         2             MS. CUTRI:    That's their opinion.

         3             THE COURT:    -- or if the pleading is one to which a

         4   responsive pleading is required, 21 days after service of a

         5   responsive pleading or -- well, 21 days after service of a

         6   responsive pleading.

         7             So I think what happened -- I'm just trying to see

         8   what's -- Celltrion agreed to give them another two days to

         9   respond to the counterclaims.       They had to respond to the

02:56   10   counterclaims, I believe, right?

        11             MS. CUTRI:    To answer.

        12             THE COURT:    You gave them another two days.       They -- I

        13   don't know if anybody foresaw this, but they hadn't asked for

        14   and received from you, and I guess from me, a two-day

        15   extension.    They could have, as a matter of right, amended

        16   their complaint.     Right?

        17             MS. CUTRI:    Are you talking about the second part of

        18   the rule you just read?       I don't have the rule in front of me.

        19   I'm trying to follow what you just said.

02:57   20             THE COURT:    It's Rule 15 --

        21             (Discussion off the record.)

        22             THE COURT:    -- (a)(1).

        23             So it says, Party may amend its pleading once as a

        24   matter of course.     And then, (b), if the pleading is one to

        25   which a responsive pleading is required and you had to respond
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         1   to the complaint after I declined to dismiss it, 21 days after

         2   service of a responsive pleading would be the pertinent part.

         3             So if on day 21, instead of day 23, they had wanted to

         4   do this, they could have amended their complaint without asking

         5   me, is the way I read it at the moment.

         6             Did anybody make that argument?

         7             This is not in anybody's brief, and probably you don't

         8   have the rule.    But -- so I'm just -- you know, in my view, A,

         9   as you noticed, I try to -- very hard to figure out what the

02:58   10   law is and follow it; but, B, the law is not a game.          If you

        11   all had looked at this rule, maybe they wouldn't have asked you

        12   for two more days, maybe they would have styled their request

        13   differently.

        14             There are cases that go both ways.        Wright & Miller,

        15   if you look at 5 Federal Practice and Procedure Civil Section

        16   1188, recognizes there are different cases and says basically

        17   that at least if it's a compulsory counterclaim, leave of court

        18   should not be required.

        19             MS. CUTRI:    I'm not sure this is right.       I'm looking

03:00   20   at this, because it's a party may amend its pleading once as a

        21   matter of course.     We're saying Janssen could amend its

        22   complaint once as a matter of course if their pleading was one

        23   to which a responsive pleading was required.

        24             THE COURT:    Right.   So you had to answer the

        25   complaint.
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         1               MS. CUTRI:   That's right.

         2               THE COURT:   Their complaint required a responsive

         3   pleading.

         4               MS. CUTRI:   That's right.    I do see what you're

         5   saying.

         6               THE COURT:   Then the complaint -- so you didn't just

         7   answer; you filed a counterclaim.        If they had answered it more

         8   quickly and thought about Rule 15, they would have just amended

         9   the complaint.    So anyway.

03:00   10               You know, we are where we are because they didn't do

        11   it within 21 days, they did it in 23 days; but when there's a

        12   case that sometimes is said to involve a billion dollars or

        13   more of damages, how much should turn on that?

        14               That was just an observation.

        15               MS. CUTRI:   And I think that's a good one that your

        16   Honor points out that we didn't acknowledge, and I guess they

        17   didn't either, of course.

        18               You know, where we're at here, where we're at now is

        19   that this was something that could have happened a year ago,

03:01   20   over a year ago, a year before it happened, right.          I think

        21   it's telling that we pled -- these are basic responsive

        22   counterclaims.    They're simple, right.      They're just

        23   declaratory judgment, we don't infringe, the patent is not

        24   valid.    We pled them in November of 2016.      In the thick --

        25               THE COURT:   Wait a minute.    What did you do in
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         1   November of 2016?

         2             MS. CUTRI:    We pled these very same counterclaims,

         3   identical, it's verbatim, actually.

         4             What happened, as you'll recall, we had said we're

         5   going to move to dismiss that, it would have been at that point

         6   their second complaint.      We're going to move to dismiss.        Your

         7   Honor said, No, let's do that on summary judgment instead.

         8   Sure, that's what we'll do.      So we had to answer.      It was the

         9   complaint from June 2016, the second one, which is now gone.

03:02   10             We answer in November 2016.       Very same counterclaims,

        11   rogue counterclaims.

        12             They had just gotten these documents from HyClone,

        13   months -- the month before, and they were going through them,

        14   of course, right.

        15             Great.    We finally got all this discovery.       As

        16   Mr. Diskant told us, we really wanted this.         We were tracking

        17   this down.    We went to court for it.      This was so important to

        18   us.   We finally got all these documents.       They're all about

        19   Singapore.    Great.   They're combing through all these

03:02   20   documents.

        21             We file our counterclaims.       The exact same ones we

        22   file here.

        23             They show up in court, in this court, with documents

        24   from that production.     Look what we found.      This is great.

        25   This is talking about Singapore.       We found some good stuff.
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         1   They dig.    They find a bunch of good stuff.       They take a

         2   deposition of HyClone, right.       All of these documents in front

         3   of a HyClone witness, multiple HyClone witnesses, there were

         4   three or four.    We have all these documents we found in the

         5   production, stuff we like.      Okay.   They marked these documents

         6   at a deposition.     They showed them to your Honor.       They bring

         7   them here in summary judgment.        Meanwhile, I said we had pled

         8   these claims.

         9               THE COURT:   Don't go too fast.     Slow down and speak

03:03   10   into the microphone, please.

        11               MS. CUTRI:   So, right.

        12               So they showed up in court with these documents.        They

        13   had gone through them.      Meanwhile, our counterclaims were

        14   pending.

        15               They answered our counterclaims early December.        So

        16   this is a year, 2016, December 2016.        They answered our

        17   counterclaim, I think it was December 1st.         You know what was

        18   nowhere in that answer to the counterclaims, the very same one,

        19   is 271(f).    Nowhere in there.     They had all the documents.

03:03   20               THE COURT:   They had all 44,000 documents, and they

        21   hadn't found the three e-mails.

        22               MS. CUTRI:   That's not correct.

        23               THE COURT:   They had found them.

        24               MS. CUTRI:   They sure had.

        25               Let me just -- on the 44,000 documents.       Your Honor,
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         1   this is a big case.     A case of this magnitude -- 44,000

         2   pages -- I'm sorry, it's not documents, pages.         Forty-four

         3   thousand pages -- like our FDA application alone is 70,000

         4   pages.

         5              They combed through that.     That was the basis of their

         6   complaint.    They've been through that; we've all been through

         7   it.   There's hundreds of thousands of documents in this case.

         8   Forty-four thousand documents -- and they asked for all these,

         9   and they wanted them.     These are the documents they sought that

03:04   10   they got and that they fought hard to get and that were so

        11   important for them to have.

        12              What happened was this -- let me find my pictures.

        13              Okay.   First thing -- first time we ever hear this

        14   whole case a year later -- first time we ever hear a mum about

        15   271(f) is in December of last year, right, just a couple of

        16   months ago.     They mention this in a joint report, I think, on

        17   one of the phone calls with your Honor in early December.           Oh,

        18   we think we have this 271(f) claim.

        19              We've never heard of this before.       So I wrote to their

03:05   20   counsel.     This is me, this is my e-mail to Mr. Fischer.

        21              Hey, you mentioned this on the phone today, what's the

        22   basis -- where is this 271(f) claim coming from?         He cites

        23   three documents.     These are not Celltrion --

        24              THE COURT:   Wait a minute.

        25              So this is one of the phone calls we had in December
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         1   2017?

         2             MS. CUTRI:     That's right.

         3             THE COURT:     Okay.   How much before -- and then when

         4   did they file -- I have the chronology here.

         5             MS. CUTRI:     Sure.   And I do, too.    I can go back --

         6             THE COURT:     That's okay.

         7             MR. DISKANT:    It's on page 16 of our slides, if you

         8   want the timeline.

         9             MS. CUTRI:     This was a few days before they actually

03:05   10   filed the claims.     So they gave us a little preview.       I think

        11   we were all on the phone December -- I want to say it was

        12   December 2nd is my best recollection, or 5th.         It may have been

        13   the 5th -- it was somewhere in that approximate time frame.

        14   And they had said this to us over e-mail I think to a draft

        15   joint report.    Oh, also, you guys, there's this 271(f) theory.

        16   We've never heard of this before.

        17             This is what brings me to my e-mail.

        18             Dear Mr. Fischer, what are you talking about?            Tell us

        19   the basis for this claim.

03:06   20             And he responds with this:

        21             Our basis for the statement includes -- and he cites

        22   three documents -- these are GE HyClone documents, right.

        23   These are the ones that were produced in October of 2016.            And

        24   we figure that out.     We pull these up.     Where are these

        25   documents?    Where are they?    Okay.   These were produced well
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         1   over a year ago.     We're thinking to ourselves, well, why are we

         2   hearing about this now?      You've had these documents for over a

         3   year.

         4              THE COURT:   You're going too fast.

         5              Although, actually, maybe not for the stenographer;

         6   just for me.

         7              MS. CUTRI:   Apologies.    I'll slow down.     Usually I get

         8   dirty looks from the court reporters.        I will do my best.

         9              Okay.   So these documents are identified.

03:06   10              Well, lo and behold, one of the documents Mr. Fischer

        11   identified was one of the very same documents that was used in

        12   court over a year earlier.

        13              They filed this with their papers on the summary

        14   judgment proceedings that happened in the fall of 2016.            The

        15   same document, the very same one.

        16              And they're coming here now and telling you, We didn't

        17   know.   Oh, we didn't know.     We couldn't make it through all

        18   44,000 documents.     I mean, it's just not right.      It's just

        19   like -- it's demonstrably not correct.        They used at least one

03:07   20   of these documents in pleadings in this court in the very time

        21   frame that we had pled the very same counterclaims a year

        22   earlier.   And now they're saying, We didn't know.

        23              THE COURT:   I thought they were saying they didn't

        24   appreciate the importance of them, not that they didn't know

        25   about the existence of the document.
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         1             MS. CUTRI:    They didn't appreciate, they didn't know.

         2   They looked at them.     They had them.     I don't understand how

         3   they can look at them -- they are looking at the exact same

         4   document in e-mail they're saying we appreciate it differently

         5   now.

         6             THE COURT:    Now you've kind of transitioned -- if I

         7   have discretion, you're arguing that there was undue delay.

         8             MS. CUTRI:    That's exactly right.      Very --

         9             THE COURT:    What's that?

03:08   10             MS. CUTRI:    Very undue on our part, substantially

        11   undue.

        12             THE COURT:    If this is a discretionary matter, and if

        13   discretion was to be exercised to allow them to amend with

        14   leave of court, how would Celltrion be unfairly prejudiced?

        15             MS. CUTRI:    Sure.   I know we talked about this a

        16   little bit earlier, I'll talk about that.

        17             I think our view here is that if there's going to be a

        18   new theory of liability in the case, they pled this as an

        19   affirmative claim, of course, right.        They have a prayer for

03:08   20   relief where they're asking for a remedy.        They're asking for

        21   injunctive relief, and they're asking for damages.           So this is

        22   not the same as just a noninfringing alternative issue.            This

        23   is an affirmative claim.      If they're going to come to court and

        24   tell the jury that we're on the hook for some other form of

        25   infringement --
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         1             THE COURT:    So that's a form of prejudice in the sense

         2   that it would be bad for Celltrion if it was exposed or had to

         3   pay more in damages if it's responsible for infringement, but

         4   why would that be unfair?

         5             MS. CUTRI:    Because it's coming in so late, and we

         6   think we are entitled to expert opinions to lay out these

         7   theories and not just -- we're entitled to their expert

         8   opinion --

         9             THE COURT:    Expert opinions on damages or on

03:09   10   liability?

        11             MS. CUTRI:    Both.   But on the actual liability issue,

        12   we don't have that.

        13             THE COURT:    What kind of expert -- I mean testimony

        14   would there be on liability -- yeah, for liability.

        15             MS. CUTRI:    On liability --

        16             THE COURT:    On the facts, not on the damages.

        17             MS. CUTRI:    So we looked at the statute earlier, and

        18   there's all those different prongs that have to be shown.          And

        19   there's one of them, at least one of them, is this substantial

03:09   20   portion of the components.      And what we don't have right now is

        21   anything laying out their case on that.        We have nothing to

        22   respond to.

        23             THE COURT:    I know at the moment I have a question as

        24   to whether expert testimony would be admissible on that issue.

        25   I don't know how many ingredients -- I don't know what the
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         1   facts are.     I don't know how many ingredients there are, but

         2   once the facts are developed -- and I know there's a lot more

         3   than four ingredients -- but if there were four ingredients and

         4   they got shipped to Singapore and then HyClone employees

         5   combined them the way they combined them in the United States,

         6   I don't know that an expert would be necessary to testify,

         7   whether they were just combining ingredients, and I don't think

         8   an expert would testify -- I mean, I'm just -- this is

         9   tentative, but I don't see how an expert would be necessary to

03:11   10   testify on causation or inducement.        I'd instruct the jury on

        11   that, and they'd decide what facts are proved.

        12             MS. CUTRI:    I think the substantiality of all or

        13   substantially all is probably the best issue here.          And part of

        14   the problem is, and part of the problem maybe you're struggling

        15   and we don't really know yet, is we don't have all the facts;

        16   that's part of the problem here, too, right.         We don't have all

        17   the facts.

        18             THE COURT:    Do you want all the facts?

        19             MS. CUTRI:    I'm sorry?

03:11   20             THE COURT:    Do you want all the facts?

        21             MS. CUTRI:    Both parties are in the process of getting

        22   those facts.    I think by expert --

        23             THE COURT:    One of things I was going to ask you --

        24   but now I think Mr. Diskant wouldn't go for this -- I wasn't

        25   sure -- it's clear in their brief, and I looked at it over the
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         1   break, but it wasn't clear to me from the passing reference on

         2   February 2nd what he meant when he said no additional

         3   discovery.    I was going to ask you, do you want to move for

         4   summary judgment right now?       Does Celltrion want to move for

         5   summary judgment right now?       But I think Mr. Diskant would

         6   probably say that I should grant some additional discovery

         7   under 56(f), if it's still (f).

         8               Anyway, go ahead.

         9               MS. CUTRI:   That's a valid point.     We do think this is

03:12   10   a point if this procedural mechanism, motion to dismiss or

        11   strike, isn't going to work that we do think this is going to

        12   be a summary judgment issue, and we'd be amenable to summary

        13   judgment.    We do want to make sure we have an opportunity to do

        14   that.

        15               What we're concerned about is that we have -- we know

        16   what their claim is, and right now we don't know.          We don't

        17   know what their theory of liability is, and they have to have

        18   someone --

        19               THE COURT:   I think I do.    I know what their theory

03:12   20   is.     It's a classic -- it's a classic -- I mean, that's a

        21   different argument.      Then you should have said this doesn't

        22   satisfy the requirements of Rule 8, but that's not the issue

        23   here.

        24               MS. CUTRI:   No.    I think the issue is we think this is

        25   prejudicial to us, because they're telling us that we don't
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         1   need anything from us; we're just going to wing it.

         2               THE COURT:   No, I don't think that's what they're

         3   telling you.

         4               They're saying, as I understand Janssen's argument, is

         5   that with regard to liability, the discovery that has to be

         6   done in the period I ordered regarding whether there was an

         7   available noninfringing alternative is the same discovery

         8   necessary for the 271(f)(1) claim on liability, and that the

         9   only additional work that would need to be done would be by the

03:14   10   damages' experts, that's it.      That's their argument.

        11               MS. CUTRI:   Right.   So I think we have a difference of

        12   view on whether or not the discovery for the noninfringing

        13   alternatives issue is the same as --

        14               THE COURT:   What additional discovery do you say would

        15   be necessary?

        16               MS. CUTRI:   I think it's just their claims or their

        17   contentions or what their theory is is different, and the

        18   issues are different.     Because all we have to show, and we've

        19   made this point in our briefs, we've discussed this a lot

03:14   20   today -- is in the hypothetical world we could have had -- you

        21   know, could have gotten ingredients or more ingredients or

        22   whatever could have come from outside the United States; and

        23   frankly, that's easy to show.       You can get these things

        24   anywhere.    I think their expert said they come from all

        25   different places.
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         1             THE COURT:    We'll see.     Maybe you want to do that to

         2   the jury, but if you could have got them everywhere, I

         3   think you'd probably get -- one might think you would get them

         4   someplace other than in Logan and run the risk of this

         5   expensive litigation that could cost Celltrion a huge amount of

         6   money.

         7             MS. CUTRI:    Well, we're not -- that's not -- we don't

         8   source the ingredients --

         9             THE COURT:    What's that?

03:15   10             MS. CUTRI:    Celltrion doesn't source the ingredients.

        11   It's not our call, it's not our decision; it's HyClone.

        12             THE COURT:    No.   Actually, they allege that HyClone is

        13   your agent.    And I have to -- if there's enough facts alleged,

        14   and there are to support that inference -- go ahead.

        15             MS. CUTRI:    I think what we want --

        16             THE COURT:    So what additional discovery -- who would

        17   you want to depose?

        18             MS. CUTRI:    It's expert.

        19             THE COURT:    Or what additional documents would you

03:15   20   want?

        21             MS. CUTRI:    It's about the expert issues.       We do think

        22   that when -- the substantiality question is going to be

        23   something that somebody is going to have -- this is -- the

        24   ingredients here, there's many of them, this isn't a

        25   four-ingredient thing, and some of them are minor ingredients,
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         1   right, tiny, itty-bitty things, these trace elements.          Some of

         2   them are bigger, some of them may be combined.         I don't know

         3   all the facts here.     That a substantiality issue --

         4             THE COURT:    If and when we get to this issue, if you

         5   want to offer expert testimony -- in fact, if both sides want

         6   to offer expert testimony, you should remember -- my law clerk

         7   will remind me -- that I have a question as to whether expert

         8   testimony is necessary.      Because these may be common sense

         9   things for the jury.     What was done?     Is this substantial?      Was

03:16   10   this caused -- I don't see, for example, how an expert could

        11   testify on causation or inducement.

        12             MS. CUTRI:    I think the substantiality there could be

        13   a technical component there, that's what I think, and I'm a

        14   little concerned --

        15             THE COURT:    It might be.

        16             MS. CUTRI:    I'm are a little concerned -- we are a

        17   little concerned that we're going to get those opinions later

        18   on, they have reply expert reports, and it's going to come out

        19   of the blue and they're going to try to wedge it in and we're

03:17   20   not going to get a response.      And we're going to be barrelling

        21   forward through depositions.      And then, under your Honor's

        22   schedule, summary judgment promptly thereafter, and we're not

        23   going to have a chance to respond.

        24             We made that point in our opening brief.         We said,

        25   Listen, if this is in, that's like, okay, then we have to deal
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         1   with it and we have to do it the way we do these things.

         2   There's an opportunity for them to go first.         This is their

         3   burden.    It's an infringement claim, they go first.

         4              THE COURT:   I know.

         5              MS. CUTRI:   If they don't want to put in anything or

         6   maybe they want to put in a cursory opinion or whatever, that's

         7   fine, but we're entitled to see that first.

         8              THE COURT:   They'll have to make disclosure that's

         9   adequate under Rule 26.

03:17   10              MS. CUTRI:   And I want to make sure that we get an

        11   opportunity and fair opportunity in a timely fashion to respond

        12   to that.

        13              THE COURT:   We'll set up a schedule for that.          You'll

        14   get an opportunity.

        15              (Discussion off the record.)

        16              MS. CUTRI:   And to depose.

        17              Mr. Hales has reminded me, we've raised this with

        18   them, and just this week, they said no.        We've said this is

        19   what we want.    If this is in, it's where we're headed, this is

03:17   20   in, you can give us your opinions or whatever you're going to

        21   give us, we'll respond, and we'll do this in the ordinary

        22   course the way we do these things.       And they said no.     They

        23   said no.

        24              Like I said, I'm concerned that where we're heading is

        25   we're going to see this later on and they're going to jam it in
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         1   at the last minute and it's going to be unfair to us.

         2             THE COURT:     We'll see.

         3             Go ahead.

         4             MS. CUTRI:     That might just about cover it.        I'm not

         5   sure if there's anything else I -- unless your Honor has other

         6   questions about the procedural stuff.

         7             THE COURT:     I don't think so.

         8             Mr. Diskant, is there more you'd like to say now that

         9   we've gone into -- and you addressed it, too.         This is

03:18   10   discretionary.

        11             So why do you think I have no discretion, that you can

        12   do this without leave of court.

        13             MR. DISKANT:    I think that's what the rule says.

        14   That's what Judge Becker analyzed it.

        15             I was amused somewhat by the disclosure that Turner is

        16   their best case.

        17             If you look at Turner, Turner was a request for --

        18             THE COURT:     Wait a second, I had it here.

        19             Turner is the Kansas case?

03:19   20             MR. DISKANT:    Yes, supposedly their best case.

        21             THE COURT:     Hold on a second.    Let me just find it.

        22             (Pause.)

        23             THE COURT:     Turner, go ahead.

        24             MR. DISKANT:    So Turner involves an effort to file a

        25   permissive counterclaim.      And the court says, While plaintiff
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         1   is correct that in some -- that some District Courts have

         2   allowed plaintiffs to include compulsory counterclaims where

         3   they're compulsory.     And when the court disagrees, it just

         4   doesn't disagree with that line of thinking, it says, I don't

         5   think the same rule applies for permissive counterclaims.

         6             Okay.

         7             THE COURT:     Hold on a second.     Let me read this.

         8             MR. DISKANT:    Go ahead.    Sorry, Judge.

         9             (Pause.)

03:21   10             THE COURT:     Okay.   Go ahead.

        11             MR. DISKANT:    Okay.    In any event, the Court,

        12   essentially, is skeptical that the Tenth Circuit would adopt

        13   the view that a permissive counterclaim is equally subject to

        14   filing as a right.

        15             Okay.   That's not our facts.

        16             And secondly, in the end, the court permits the claim

        17   to be filed as a motion to amend, notwithstanding that they've

        18   known the facts here for four years.         You know, with no good

        19   claim of prejudice, the court said, Go ahead.

03:22   20             So I don't -- I don't think this advances the ball for

        21   them very much.     And I think in the end -- you know, I

        22   recognize this is an area -- can we go back to the slides,

        23   please?

        24             I recognize this is an area in which there's a

        25   divergence of opinions.      And honestly, I don't think you have
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         1   to -- and we'll go to slide 46, please.

         2             I think Judge Becker had it right.        Rule 13 states, A

         3   pleading may state a permissive counterclaim and shall state

         4   any compulsory counterclaim.      One such pleading which is

         5   authorized under 7(a) is a reply to a counterclaim.          Taking the

         6   two together, the counterclaim may be stated in reply to a

         7   counterclaim of the other party.       That is the majority rule,

         8   it's the better-reasoned rule, it's what the rules say.

         9             So I think that's correct.       I don't feel a need to

03:23   10   analyze it any further, unless your Honor wishes.

        11             THE COURT:     And why is your counterclaim a compulsory

        12   counterclaim?

        13             MR. DISKANT:    I think I just heard counsel say it

        14   checks all the boxes, which I viewed as a concession that it

        15   was a compulsory counterclaim.

        16             It's a compulsory counterclaim because their claim

        17   against us -- we allege violations 271(a) and (b), and in

        18   response, they went beyond that and they said we don't infringe

        19   at all.   Well, having said they don't infringe at all, if we

03:23   20   ever wanted to assert that they infringed, this was our moment.

        21   We were required to assert it, or we ran risk of res judicata

        22   if we did not.

        23             We were required to assert it.       I think it's perfectly

        24   straightforward as a compulsory counterclaim.

        25             We aren't trying to play games with the Court; this is
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         1   just the fact pattern which these events emerged.          We learned

         2   about it on November 6th.       As it happened, they just filed this

         3   counterclaim, so it seemed the reasonable thing to do.             I

         4   realize there are other ways we could have approached the same

         5   issue.

         6             I think as a permissive counterclaim I would think

         7   your Honor should order it.      There's no prejudice that's

         8   cognizable, I don't think.      You're entirely right, this is a

         9   fact-based counterclaim, not an expert-based one.          There may be

03:24   10   an extremely small amount of expert testimony which we've

        11   already put in in our opening report on noninfringing

        12   alternatives in which our experts explain why from a

        13   manufacturing standpoint it made sense to single source

        14   ingredients.    And they may have some responsive -- you know,

        15   the defendants put anything in response.        But this is -- this

        16   is not expanding the case, except for a tiny amount of damages

        17   testimony on which everyone's been taking the same damages

        18   numbers -- all the underlying fact discovery on sales and

        19   markets are exactly the same, it's just computing days,

03:25   20   basically.

        21             So I don't see any cognizable prejudice, and, you

        22   know, the facts are what I said.       We asserted this claim

        23   promptly after discovering it.

        24             THE COURT:    Okay.

        25             It's now almost 3:30.      I'm going to take a break, I
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         1   expect for at least 20 minutes, and then I'll give you a

         2   decision.

         3               Court is in recess.

         4               THE CLERK:   All rise for the Honorable Court.

         5               (Recess taken.)

         6               THE CLERK:   All rise for the Honorable Court.

         7               Court is back in session.    You may be seated.

         8               THE COURT:   I regret that that took me much longer

         9   than I thought it would.

04:28   10               At the outset, I want to correct something I said.         I

        11   don't think that Janssen could have amended its complaint

        12   within 21 days of the answer filed by -- the answer and

        13   counterclaim filed by Celltrion, the defendants, because there

        14   had previously been a motion to dismiss.        So the motion to

        15   dismiss started the 21 days running.        You'll find that in the

        16   advisory notes to the 2009 amendment.        That's probably why,

        17   with your legions of lawyers, nobody made that argument.           I

        18   don't think it's a correct argument.

        19               However, I am denying the defendants' motion to strike

04:29   20   or dismiss Celltrion's (sic.) Section 271(f)(1) counterclaim.

        21   As I'll explain, I find that the counterclaim states a

        22   plausible claim on which relief can be granted as required by

        23   Rule 12(b)(6).    The counterclaim does not require leave of

        24   court.   Even if leave of court were required, although it's a

        25   competitive question, I expect I would authorize the
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         1   counterclaim.

         2             With regard to Rule -- well -- the counterclaim I said

         3   states a plausible claim under Section 271(f).         To violate that

         4   provision, the defendant must, 1, supply or cause to be

         5   supplied in or from the United States; 2, all or substantial

         6   portion of the components of a patented invention, in this case

         7   the ingredients of the media, where such components are

         8   uncombined in whole or in part; 3, in such manner as to

         9   actively induce the combination of such components outside the

04:30   10   United States; and 4, in a manner that would infringe the

        11   patent if such combination occurred within the United States.

        12             The standard for a Rule 12(b)(6) motion for failure to

        13   state a claim is familiar.      I have to take all of the properly

        14   pled factual allegations as true.       I must draw all reasonable

        15   inferences.     The Supreme Court said in Twombly, A motion to

        16   dismiss should be denied if a plaintiff has shown a plausible

        17   entitlement to relief.      That's 550 U.S. at 559.     That means the

        18   complaint must contain sufficient factual matter accepted as

        19   true to state a claim to relief that is plausible on its face.

04:31   20   The claim has facial plausibility when the plaintiff pleads

        21   factual content that allows the Court to draw the reasonable

        22   inference that the defendant is liable for the misconduct

        23   alleged, as the Supreme Court said in Iqbal, 556 U.S. 662, 678.

        24             In this case, the plaintiff has adequately alleged

        25   facts from which it could be reasonably inferred that the
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         1   defendant was liable under Section 271(f).

         2               For example -- and these are only some of the

         3   allegations on which I rely -- but, for example, as alleged in

         4   paragraphs 23 to 26 of the counterclaim, on or about September

         5   29, 2016, Celltrion ordered approximately $4 million of

         6   Celltrion media from HyClone.       Knowing that all or substantial

         7   portion of the components of the Celltrion media would be

         8   supplied from Logan, Utah, Celltrion directed HyClone to

         9   combine these components to make the Celltrion media at the

04:33   10   Singapore facility.

        11               On information and belief, Celltrion has continued to

        12   order and currently orders Celltrion media made at the

        13   Singapore facility.

        14               On information and belief, Hospira joined and

        15   participated with Celltrion in the litigation-driven decision

        16   to direct HyClone to make Celltrion cell media at the Singapore

        17   facility.

        18               On information and belief, Hospira did so knowing that

        19   the Singapore media would infringe the '083 patent if its

04:33   20   components were combined to make the media in the United

        21   States.

        22               Building on these factual allegations, as well as

        23   others, the counterclaim concludes that, at Celltrion 's

        24   direction and control and acting as Celltrion's agent, HyClone

        25   supplies from the United States at least a substantial portion
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         1   of the components of the infringing Celltrion media, which

         2   HyClone then combined at the Singapore facility; that Hospira

         3   and Celltrion are in a joint venture with respect to the

         4   manufacture and marketing of Inflectra.        That's paragraph 45.

         5   I previously quoted paragraph 34.

         6             By causing HyClone to supply the components of the

         7   infringing Celltrion media from the United States for

         8   combination at the Singapore facility, Celltrion and Hospira

         9   have activity induced and continue to actively induce the

04:35   10   combination of components outside the United States in a manner

        11   that would infringe the '083 patent if such combination

        12   occurred within the United States.       That's paragraphs 40 to 48.

        13             They both do so intending that the Singapore media be

        14   combined in a manner that would infringe the patent.

        15             These allegations state a plausible claim for relief

        16   under Section 271(f)(1).      Essentially, they're comparable to

        17   those in WesternGeco, 876 Supp. 2d at 899 to 901, and Jacobs

        18   Vehicle, 424 Supp. 2d 388, 395.

        19             I also find, as I said, that leave of court is not

04:35   20   required to assert these counterclaims, or this counterclaim.

        21             The defendants' counterclaim to the complaint seeks --

        22   or counterclaims to the complaint seeks declaratory judgment of

        23   noninfringement and invalidity.       These are compulsory

        24   counterclaims.    As the District Court said in Ruckus, 2012 WL

        25   588792 at 3, courts routinely hold that declaratory judgment
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         1   claims for invalidity, unenforceability, and noninfringement

         2   are compulsory counterclaims to claims of infringement of the

         3   same patent.

         4             The plaintiffs' counterclaims are also compulsory.

         5   They seek declaratory judgment of infringement arising

         6   essentially from the same occurrence within the meaning of Rule

         7   13.

         8             In Vivid Technologies, for example, 200 F.3d 795, 801,

         9   the Federal Circuit stated an infringement counterclaim is

04:37   10   compulsory in an action for declaration of noninfringement.

        11             Rule 13 provides that a pleading must state as a

        12   counterclaim any claim that at the time of its service the

        13   pleader has against an opposing party if the claim, A, arises

        14   out of the transaction or occurrence that is the subject matter

        15   of the opposing party's claim; and B, does not require adding

        16   another party over whom the court cannot acquire jurisdiction.

        17   It may state as a counterclaim against an opposing party any

        18   claim that is not compulsory.       That's Rule 13(a)(1) and (b).

        19             Rule 7(a)(3) states that a pleading includes an answer

04:38   20   to a counterclaim designated as a counterclaim.

        21             Under Rule 15, leave of court is only required for

        22   amendments to a pleading.      Therefore, no such leave is required

        23   for Johnson's counterclaim and its answer.         In essence, I find

        24   Judge Becker's reasoning in Southeastern Industrial Tire

        25   Company, 70 F.R.D. 585-86 persuasive on this issue.
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         1             More specifically, while I recognize there's

         2   conflicting authority on this point, I find the most persuasive

         3   authority holds that a party may assert a counterclaim in reply

         4   without leave of court at least when the counterclaim in reply

         5   is, as here, compulsory.      And Southeastern Industries, Judge

         6   Becker, sitting when he was a district judge, allowed the

         7   plaintiff to plead a counterclaim in reply.         He interpreted the

         8   text of the Federal Rules of Civil Procedure as follows:

         9             Both Federal Rule of Civil Procedure 13 and Federal

04:40   10   Rule of Civil Procedure 18 contemplate counterclaims in reply.

        11   Rule 13 states that a pleading, not just an answer, may state a

        12   permissive counterclaim and shall state any compulsory

        13   counterclaims.    One such pleading which Federal Rule of Civil

        14   Procedure 7(a) authorizes is a reply to a counterclaim.

        15             Federal Rule of Civil Procedure 13, in conjunction

        16   with Rule 7(a), thus authorizes a counterclaim to be stated in

        17   a reply to the counterclaim with the other party.          It is

        18   concomitantly clear that Rule 7(a) does not prohibit the

        19   pleading of a counterclaim in reply.        Moreover, since Rule

04:41   20   18(a) specifically referred to counterclaims that applied prior

        21   to its amendment in 1966, and since the purpose of the

        22   amendment was to broaden the scope of claims that may be joined

        23   in a single action, we believe that it should be construed to

        24   continue to authorize counterclaim in reply.

        25             Cases consistent with this conclusion are Wiggins,
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         1   2017, U.S. District Lexis 167042 at 11; Power Tool Supply, 207

         2   U.S. District Lexus 29571 at 7-8.       Both the 9th Circuit and

         3   Wright & Miller maintain that counterclaims in reply are

         4   allowed without leave of court whenever they are compulsory.        I

         5   have in mind particularly Mattel, 705 F.3d 1108, 1110; and

         6   Davis & Cox, 751 F.2d 1507, 1525; as well as Wright & Miller, 5

         7   Federal Practice and Procedure Civil, Section 1188 in the Third

         8   Edition, the 2017 update.

         9             In the interest of completeness, I will add that if

04:42   10   leave of court were required, I expect I would allow the

        11   amendment.

        12             The standard for amending the complaint is stated in

        13   Foman v. Davis, 371 U.S. 178, 182.       If the underlying facts or

        14   circumstances relied on by plaintiff may be a proper subject of

        15   relief, he ought to be afforded an opportunity to test his

        16   claim on the merits.     In the absence of any apparent or

        17   declared reasons such as undue delay, bad faith, or dilatory

        18   motive on the part of the movant, repeated failure to cure

        19   deficiencies by amendments previously allowed, undue prejudice

04:43   20   to the opposing party by virtue of allowance of the amendment,

        21   futility of the amendment, et cetera, the leave sought should,

        22   as the rules require, be freely given.

        23             Here, there is no prior history of chance and failing

        24   to cure deficiencies in the pleadings by amendments, although

        25   the original complaint was dismissed to -- in what turned out
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         1   to be a successful effort to cure an issue concerning standing.

         2             In addition, I don't find that Janssen has acted in

         3   bad faith or had a dilatory motive.

         4             The most serious concern is the arguable undue delay.

         5   Janssen received 44,000 pages of documents in discovery in

         6   October 2016, after the period for fact discovery in the

         7   original case had ended in July 2016.        Three pages have been

         8   identified as relevant to the counterclaim and having prompted

         9   its filing.    One of them was used or -- twice, once in a

04:45   10   November 2016 opposition to a motion for summary judgment.           It

        11   was also designated as a trial exhibit when the case was

        12   scheduled to go to trial in February of 2016.

        13             Janssen represents that it overlooked the section

        14   271(f) implications of the documents.

        15             The claim could have been brought in the May 31, 2017

        16   complaint that's now operative in this case.         However, in view

        17   of the many, many issues in this case, it is unfortunate, but

        18   explained and understandable, that it was -- the implications

        19   of the documents were overlooked.

04:46   20             The key issue is undue prejudice.        In this case,

        21   there's no argument that the delay has resulted in the loss of

        22   evidence or that witnesses have died, in contrast, for example,

        23   with Carter, 634 F.2d 187, 1982 1st Circuit case.

        24             The issue has been raised after the end of discovery

        25   on liability in July 2016.      However, Janssen represents that it
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         1   will be relying on only the discovery now already being done on

         2   damages.    I note that it could not have raised this issue

         3   during the period for liability discovery, because that period

         4   ended in July of 2016, as I said, and these documents were not

         5   produced until October 2016.

         6               But this case is also distinguishable from Scott, 733

         7   F.3d 105, 107-18.

         8               If I had discretion, which I find I don't, I might

         9   deny the leave to amend if I were persuaded that the

04:48   10   counterclaim would disrupt the schedule to complete discovery

        11   and get to pretrial motions and trial that I established.

        12   That's a consideration that's important in the 1st Circuit and

        13   to me.     The 1st Circuit's view is reflected in Steir,

        14   S-t-e-i-r, 383 F.3d 7, 12.      However, the plaintiff asserts, as

        15   I said, that discovery will be the same for liability and

        16   271(f)(1) and on the damages issue concerning the availability

        17   of a noninfringing alternative that is going on now.          So no

        18   additional discovery, that is, discovery that wouldn't be done

        19   on damages, according to the plaintiff, will be required.

04:49   20               The case will require -- the counterclaim will require

        21   additional information in the experts' reports on damages, but

        22   I don't find that in the context of this enormously already

        23   expensive case that that will be onerous or unfeasible.

        24               It's not clear whether expert testimony on the

        25   271(f)(1) issue will be necessary or whether there would be
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         1   much of that.    It wasn't mentioned in the argument, but I note

         2   that in 2017, the Supreme Court decided Life Techs., 137

         3   Supreme Court 734, 740, where the Court held that the

         4   substantiality of a portion of the patented components for

         5   271(f) analysis is a quantitative measure and does not depend

         6   on the components' qualitative importance to the invention

         7   overall.

         8              I don't know how that will apply here.       The

         9   composition of media is at issue, but it might limit expert

04:51   10   testimony.

        11              So as I said -- I'll say one more thing that would

        12   influence me if I had discretion.

        13              The law is not a game.     If the defendant is infringing

        14   under Section 271(f), it would be in the public interest that

        15   it be held accountable.

        16              The parties must continue to work hard to complete all

        17   discovery on the existing schedule, including concerning this

        18   271(f) claim.    And I fully expect, given our long history

        19   together, that the parties will.

04:52   20              It's now five of five.     Hours ago I was told that some

        21   discovery issues that the parties thought they had resolved by

        22   agreement have reemerged.      Do you want to tell me what those

        23   are, or maybe tell me that you settled them during some of

        24   these large breaks?

        25              MR. DISKANT:   Judge, if I may go first for just a
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         1   moment.

         2             I think when you hear this, you will tell us to go

         3   talk to each other some more.

         4             THE COURT:     What's that?

         5             MR. DISKANT:    I think when you hear this, you will

         6   tell us to go talk to each other some more.

         7             It's a question about how many contracts, how much

         8   correspondence.     We've tried to work it out with them, I think

         9   we can.   I suggest we not do this, perhaps schedule a phone

04:53   10   call in a week or a few days.

        11             If we can't resolve it, Mr. Fischer is the one who

        12   knows the facts, so I would much prefer to push this down --

        13   I'm not seeking delay, just a couple of days.

        14             THE COURT:     Mr. Hales, do you want to say what the

        15   issues are?

        16             MR. HALES:     I will do that briefly, your Honor,

        17   recognizing all the things you have going on.

        18             But we had two issues.        Your Honor asked us to come

        19   last time, two weeks ago, prepared to raise any discovery

04:53   20   disputes if there were any because the schedule is very tight.

        21   We had two.     It's contracts that they have related to Remicade,

        22   and customer communications they have with the customers that

        23   are reimbursed for Remicade.

        24             THE COURT:     What do you mean by contracts

        25   concerning --
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         1               MR. HALES:   So, for example, contracts that Janssen

         2   has with insurance companies, hospitals, et cetera, relating to

         3   the reimbursement of Remicade.

         4               So those are the two issues that we thought we had

         5   worked out.     Last time we came ready to argue them; they're

         6   very important to the damages case.        As we were coming into the

         7   court --

         8               THE COURT:   The first one is contracts.      What's the

         9   second one?

04:54   10               MR. HALES:   Customer communications related to pricing

        11   and contracts.

        12               Let me -- do you want me to give you just the real

        13   quick version of why they're important?

        14               THE COURT:   No.   They sound important to me.

        15               MR. HALES:   They are very important.

        16               THE COURT:   At least the first one sounds important.

        17               MR. HALES:   And they both are.    We can deal with it

        18   later.     But the point -- our concern is the timing, your Honor.

        19   That is, last time we were in here, their focus was no

04:54   20   discovery disputes, let's just get the schedule in.          They told

        21   us we were going to have these things worked out.          They got the

        22   schedule.    We leave the courtroom, and all of a sudden these

        23   agreements have gone away.

        24               THE COURT:   Let me tell you what I have in mind.

        25   Monday is a holiday.     I have in mind giving you until Wednesday
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         1   to try to work this out.        You work it out, great.    If you

         2   don't, we'll have a telephone hearing next Friday morning,

         3   February 23rd, and you'll make submissions on the 21st, and

         4   we'll have a hearing at 10:00 on the 23rd if you haven't

         5   revolved this by agreement, and I'll decide which you of you

         6   has the more reasonable position, and that party will prevail.

         7             MR. HALES:     Understood, your Honor.

         8             And I'm just going to let you know, because I'd be

         9   remiss if I didn't, this issue relates to a deposition that is

04:55   10   set for that Friday.

        11             THE COURT:     For that Friday?

        12             MR. HALES:     Yes.

        13             THE COURT:     Fine.

        14             MR. HALES:     Whatever --

        15             THE COURT:     Why don't you give me the report by 12

        16   noon on Wednesday, the 21st, and we'll have that hearing, if

        17   necessary, at 10:00 on Thursday.

        18             MR. HALES:     We can do that as well.

        19             THE COURT:     And in the meantime, Janssen shall collect

04:56   20   all the documents that are responsive, because if I order you

        21   to produce them, you'll have to produce them before the

        22   deposition.

        23             MR. DISKANT:    That's the problem, Judge.

        24             THE COURT:     All right.

        25             MR. DISKANT:    The problem is the burdensomeness of the
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         1   documents, and we've been trying to work this out with the

         2   other side.

         3              THE COURT:     Well, you may have to put the deposition

         4   off a bit.

         5              I'm -- look, I'm going to put this back on the

         6   original schedule, because I have something on Thursday that

         7   requires some attention.

         8              You file a report by the close of business on

         9   Wednesday and, if necessary -- give me your positions, and, if

04:57   10   necessary, we'll have a hearing at 10:30 on Friday the 23rd.

        11              MR. DISKANT:    Thank you, Judge.

        12              THE COURT:     You're going to have to adjust the

        13   deposition, I think, unless you quickly reach an agreement on

        14   Tuesday.

        15              MR. DISKANT:    We'll talk and let you know on

        16   Wednesday.

        17              THE COURT:     Or on Monday.

        18              MR. HALES:     All right.   Thank you.

        19              THE COURT:     Some of us will be working on Monday.

04:57   20              MR. DISKANT:    Some of us will.

        21              THE COURT:     Okay.   With profound thanks to the

        22   pinch-hitting court reporter particularly, court will be in

        23   recess.

        24              THE CLERK:     All rise for the Honorable Court.

        25              (Court adjourned at 4:57 p.m.)
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 2                                CERTIFICATION

 3             I certify that the foregoing is a correct transcript

 4   of the record of proceedings in the above-entitled matter to

 5   the best of my skill and ability.

 6

 7

 8

 9   /s/Debra M. Joyce                          February 23, 2018
     Debra M. Joyce, RMR, CRR, FCRR             Date
10   Official Court Reporter

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